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                          UN IT ED STA TES DISTR ICT CO U RT
                          SO U TH ER N DISTRICT O F FL O IU DA

                                  C ase N o.


 FEDERAL TRADE COM M ISSION, )
                                    )
       Plaintiff,                   )
                                    )
                                    )
                                    )
 DIGITAI,INCOM E SYSTEM ,INC.,)
   aFloridacorporation,             )
                                    )
 DEREK JONESFOLEY,akaDerek )
   Jones,individuallyand asan owner,)
   offcer,and/or m anager of
   DigitalIncom e System ,Inc.,

 W ILLI.AM FO LEY ,individually and
   as an ow ner,officer,and/or
   m anager ofD igitalIncom e
   System ,Inc.,

 CH R ISTO PH ER BR AN D O N FRY E ,
  Individually,

 JEN M FER H ED R ICK ,
   Individually,and

 K AITLY N SCO TT,
   Individually,

       D efendants.



                            E X H IB IT S - V O LU M E l                             $

   DECLARATIONS OF FTC INVESTIGATOR AND FTC FORENSIC ACCOUNTXNT
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                         V O LU M E I:TAB LE O F C O N TENT S

  EX H IBIT 1: DE CLA R ATIO N O F M IC H A EL LIG G IN S,FTC Investigator

  EX H IBIT 2: D E CLA M TIO N O F EM IL G EO R G E,FTC Forensic A ccountant
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                  PL A IN T IFF 'S E V            IB IT 1

                                  (PX 1)
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                    D E CLA R ATIO N O F M CH AEL S.LIG GIN S
                              Pursuantto28U.S.C.j1746
          1,M ichaelS.Liggins,declare thatIhave personalknow ledge ofthe factsset

   forth below .Ifcalled asaw im essbefore any coult 1could andw ould testifyas

   follows:

   A.     ProfessionplExperienceand Baqu round

        1. 1am a citizen oftheU nited States and am overthe age of 18.Iam

   employedmsan InvestigatorwiththeFederalTradeCommission (<TTC'')inthe
   SoutheastRegionalOx cc.M y ofsceaddressis225Peachtrœ Street,N .E.,Suite

   1500,Atlantw Georgia 30303.lhavebeen em ployed w ith the FTC since 2000.

        2. learned a M asterofArtsdegree from LutherRice U niversity in 2012 and

   BachelorofArts degree in Crim inology from SaintLeo U niversity in 1991.Prior

   tojoiningtheFTC in 2000,1wasemployed asaSeniorhvestigatorwiththe
   DistrictAttorney'sOftk e,W hite CollarCrimeUnit,AtlantaJudicialCircuit,

   A tlanta,G eorgiw and priorto that,1w as enlisted in the U S A rm y.D uring m y

   enlistm entw ith theU S Arm y,Iw asassir ed to Law Enforcem entduties,srstw ith

   the U S A rmy M ilitary Police Corps,then as a SpecialA gentw ith the U S Army

   Crim inalInvestigation Com m and.

        3.Asan InvG igatorwith the FTC,m y prim a!y dutiesinclude,butare not

   lim ited to,the follow ing:assisting in identifying pattem s ofunfairand deceptive




                                                                           PX 1,pg.1
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    tradepm ctices;conducting computerresearch using avadety ofIntem etsearch

    engines,public record and 1aw enforcem entdatabases, and com putersoRw are-

   based investigative tools;requesting, receiving,and exam ining inform ation

   provided by third parties,including information providedby stateregulatory

   authoritiesand otherregulatory orgsnizations;and analyzing datarelated to

   possibleviolationsoftheFTC Actand otherlawsenforcedby theFTC . A spartof

   m y duties,Iassisted in theinvestigation ofthebusinesspm cticesofDigitalIncome

   System,Inc.(sr igitalIncomeSystem'')anditsprincipals,DerekFoleyand
   W illiam Foley.lalso assiste intheinvo tigation ofthebusinesspracticesof

   DigitalIncomeSystem promoters;ChristopherBrandon FryeCTrey''),Jennifer
   Hedricktçlledrick''l,andKaitlynScott($<Scot1'').
   B.     Corporate Structure and O w nership

               D igitalIncom e System ,Inc.

        4.Aspartoftllisinvesdgation,1reviewed thebusinessrœ ordsofDigital

   Incom e System ,Inc.thatareon f5Jc wltb, 8rd arepublicly availablefrom,the

   Florida D epndm entof State. D igitalIncom e System Eled itsArticles of

   Incorpomtion (AttachmentA)onNovember26,2018.DigitallncomeSystem 's
  Registered Agentand IncorporatorwasDerekFoley, 6619 South DixieHwy,

  #329,M inm i.Florida 33143.Derek Foley wasalso listed asthe Presidentof


                                          2



                                                                         PX 1,pg.2
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   D igitallncom e System and W illiam Foley,6800 SW 40* Skeet,#105, M iam i,

   Florida 33155 w ms listed as Secretary ofD igitalIncom e System . D erek Foley

   signedDigitalIncomeSystem 's2020 annualreport(AttachmentB)asits
   registered A gentand President.

       5. A spartoftM s invesdgatiow Iresearched the adt esses listed on D igital

   lncom e System 'sArticlesofIncorporation and AnnualReportand discoveredthat

   b0th addresses;6619 South DixieHwy,#329,M inm i.Florida33143 and6800 SW

   40+ Skeet, #105,M inmi,Florida33155 areUPS Store com mercialm ailbox

   facilities.

   C. CivilInvese         veDem ands
       6.ln theregularcourseofitsactivity,tlleFTC issued Civillnvestigative

   DemandsCE IDs'')tothirdpartieswithinformationabouttheCorporate
   Defendants'businesspractices.n eCm sare issuedby theFTC,pursuantto

   Section20oftlAeFederalTradeCommissionAd,15USC j57b-1,andtheFTC
   m aintainsrecordsoftheresponsesto tAoseCm qfrom therecipients.

             a. D om ainsBy Proxy,LLC

      7.A Cm wasissued to Dom ainsBy Proxy,LLC,an intem d company that

   afforded dom ain privaoy servicesto D igitalIncom e System ,w hich provided a

   responseincludingarecordscehifcation am davh (AttachmentC).


                                           3



                                                                         PX 1,pg.3
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       8.Domain By Proxy'sresponsealso included accountrecordsrelating totlle

   websitew ww.diaitalincom esvstem .com These records identify W illinm Foley,
                                           .




   6800 SW 40thStreeq #105, M iam i,Florida 33155,as Shopper1D 203277936, and

   asthe dom ain registmnt,adminis% tive,technical, and billing contactforthe

   domain digitalincomesystmmcom (Attachm entD).
               b. G oD addy,H c.

       9. A Cm w as issued to G oD addy,Inc.,a com pany thatprovided dom ain

   registration and web hosting seM cesto Digitalh com e System , which provided a

   responseincludingarecordscertifcationam davit(AttacbmentE).
       l0. GoDaddy'sresponsealso included recordsrelatingto thew ebsite

   m    .digitglincomesystem rvview .com .Theserecordsidentify Christopher

   Frye,2910 S Greev eld Rd Unit2081,Gilbert,Arizona 85295 asShopper

   m 71021827 and thatthe dom ain nam e digitatincom system review .com w ascreated

   on April14,2019andexpiresonApril14,2021(Attachm entF).
       11. GoD addy'sresponse also iqcluded rezordsrelating to the w ebsite

  w w w .dixttalincom esvstem .com .These rœ ordsidentify W illilm Foley,6800 SW
         -           -




  40* Street,#105, M iami,FL 33155 asShopperm 3551112 and the dom nin nam e

  digitalincom system .com w as created on April5, 2018 and expires on Apdl5,2021

  (Attachm entG).


                                          4



                                                                        PX 1,pg.4
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                c. W ells Fargo B ank,N .A .

       12. A Cm wasissuedtoW ellsFargoBaIA N,A.,whichprovidedresponses
   includingabusinessrecoMsdeclaration(Attachm entH).
       13. D erek Foley signed the BusinessA ccountA pplicaion foraccounts

   * X*XXX 1589 and XXXXXX5873 asthe solesignatory forDigitalIncome

   System onM arch 15,2019 (Attachm ent9.Healsosigned:alongw1t11W illiam
   Foley,two A ddendum to Certifcate ofA uthority foraccounts* X* XX X 1589 and

   * X* XX X 5873,adding W illiam Foley asa sir atory. Derek and W illiam Foley

   sir edbotbaddendumson M arch22,2019 (AttachmentsJandK).
       14. Derek Foley siN ed tlleBusinessAccountApplication foraccount

   * X'1X X X 2280 as the sole signatory forOnline ProltN etw ork Inc. on

   September5,2017 (AttaehmentL).
               d.Branch Bane gand TrustCompany(BB&TI
       15. A CID wasissuM to BB&T,which provided responscsincluding a

   declaration ofbankrœ ords(AttachmentM ).
       16. O n Septem ber 19,2013,W illinm Foley opened a businessaccountin the

  nnm e ofLegacy M arketing System s,Inc., 6800 Bird Road,Suite 105,M inm i,

  Flodda33155 with BB&T.He signedtheBB& T Signature Card along with a


                                           5



                                                                            PX 1,pg.5
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   R esolution and A greem entfor DepositA ccountform , foraccount

   XXXXXu XX 1582 asthepresidentand solesignatol forLegacyM arketing

   Systems,Inc.(AttachmentsN and O).
        17. On July 13,2007,W illiam Foley opened abusinessaccountin the name

   ofBBL M obile,Inc.,6800 SW 40* Skeet, #105,M iam i,Florida33155-3708with

   B snk Atlantic,lateracquired by BB& T. O n Septem ber 19,2013,he signed the

   BB & T Signature Card along w ith a Resolution and A greem entforD eposit

   Accountform ,foraccount             XXXX8312 asthepresidentand solesignatory

   forBBL M obilelnc.(Attachm entsP and Q).
       18.On June24,2005,Deborah J.Foley opened abusinessaccountin the

   nsm e ofB iz Sites and Guides Inc.,8004 N W 154* Stred , #379,M inm i,Florida

   33016 with Blmk Atlantic,lateracquird by BB& T. Deborah JonesFoley as

   presidentand W illiam John Foley asan authorized sir er, signed the B ank A tlantic

   SignatureCard alongw 11 the CorporateAuthorizafion Resolution form , for

   accou tn XXXX3425(AttachmentsR andS).
   D . D efendants'lnternetC aptures

       19. Tk oughoutthe course ofthis kw estigation, Iused a FTC com puterlocated

   in the SoutheastRegion O œ cethatisseparatefrom theFI'
                                                        C n- ork n is  .



  computerhasvariousevidence-capturesohwar: tools.


                                           6



                                                                           PX 1,pg.6
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                 a. W ebsite C aptures

        20. O n January 23,2020,1logged onto the FTC computerto view the

    w ebsite located atw w w .digitalincom esvstem .com and to preserve evidence ofm y

    online experience.To accom plish thistask,Iused a w ebsite captureprogm m

    called d'AdobeAcrobatPro 9''which capm resawebsitein aPortableDocum ent

    Format(.pd9 fle.Ipreservedandcopiedthewebsitetotbecomputer'shard ddve.
   lalsomadeprintedcopiesofthiswebsite9om theharddrive(Attachm entT).
        21. On January 29,2020,Ilogged onto the FTC com puterto again view the

   w ebsite located atw ww .digitalincom esvstem .com and to preserve evidence ofm y

   online experience.Specifically Iw anted to preserve a video thatw as em bedded

   within the website.To accomplish + istask,Iused awebsitecapturecomputer

   progrsm called çicamtasia''which recordsavideo ofany action thatappearson

   thecomputerscreen andsavestherecordingelectronicallyin aM PEG-14(.mp4)
   digitalmultim ediaform atwhich allowsyou to play thevideo on W indow M edia,

   RealonePlayer,and otherm edia software.1preserved and copied thewebsite

   videotothecomputer'sharddriveandonto aDVD disc(Attachm entID.
       22. O n O ctober21,2020,IloggH onto the FTC com puterto view the

   w ebsite locate atw ww .diMitalincom esvstem .com and to preserve evidence ofm y




                                                                           PX 1,pg.7
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    online expedence.To accom plish thistasky lused aw ebsite capture program

    called dtA dobeAcrobatPro 9''wllich capturesa websiteinaPortableDocum ent

    Format(.pd9 fle.1preservedandcopiedthewebsitetothecomputer'sharddrive.
    Ialsomadeprinted copiesofthiswebsite9om theharddrive(AttachmentV).
       23. O n O ctober21,2020,Ilogged onto the F I'C com puterto again view the

    w ebsite located atw ww . didtalincom esvstem .com and topreserve evidenceofmy

    online experience.Specifcally 1wanted to presew eavideo thatwasembedded

    w ithin the w ebsite.To accom plish tM st% k, Iused awebsite capm recomputer

   prop am called <f am tasia'',whichrecordsavideo ofany adion thatappe>m on

   thecomputerscreenand savestherecordingelectronicallyinaM PEG-14 (mp4)    .



   digitalmultimedia form atwllich allowsyou toplay thevideo on W indow M edia,

   Realœ e Player,and otherm ediasohware Ipreserved and copied the website
                                               .




   videotothecomputer'sharddriveandonto aDVD disc(Attachm entm .
       24.On October26,2020,Ilogged onto theFTC computerto again view the

   website located atwwm digitalincom esystem com and to preserve evidence ofm y
                                                   .




   onlh e expedence.Specifcally Iw anted to preserve m y experience accessing the

   websitebyputting thewebsite'saddressdirectly in the addressbaroftheweb

   brow ser.This resulted in digitalincom esystem .com displa/ngonl
                                                                  ythecustomer
   login page,which wasrestricted by requiring ausernameand password. To


                                           8



                                                                        PX 1,pg.8
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    accom plish this task,Iused a w ebsite capture program calle

    çc am tasia'';wM ch rœ ordsavidx ofany action thatappexrgon the computer

    scxenandsavestherecordlgelectonically in aMPEG-I4 (.mp4)digital
    m ultim edia form atthatallow s you to play the video on W indow M edia,

    RealonePlayer,and othc'rmediasoN are.Ipresew ed and copied thew ebsite

    videotothecomputer'sharddriveandontoaDVD disc(Attachmentm .
       25. On O ctober26,2020,Ilogged onto the FTC com puterto again view the

    w ebsite located atw w w .digitalincom esvstem com and to preserve evidence ofm y
                                                 .




    onlineexperience.Speciscally Iwanted to preservemy experience ofaccessing

   DigitalIncome System 'swebsite by inputting forthe nam e, tr igitalIncom e

    System ''into theGoogleSearch Engine.n issearch subsequently resulted in

   having com plete accesstotheD igitalIncom e System 'swebsite To accom plish
                                                                   .




   G istask,Iused awebsitecapm recomputerprogram called dtcamtasia''which

   records a video ofany action thatappearson the com puterscreen and savesthe

   recording electronically in aM PF,
                                    G -;4 f
                                          x .mp4)di
                                                  gitalmultimediaformatxzzbich
   allowsyou toplay thevideo on W indow M edia, RealonePlayer,andotherm edia

   soRw are.Ipreserved and copied the w ebsite video to the com puter's hard drive

   inaddition,onto aDVD disc(Attaehm entY).
       26. On Novem ber3,2020,Ilogged ontotheFTC computerto view the


                                            9



                                                                           PX 1,pg.9
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    websitelocated atm      .:igitall com esyste= eview com and to preserve evidence
                                                         .



    ofm y online experience.To accom plish thistask, Iused a w ebsite capM eprogram

    called tW dobe A crobatPro 9''which captures a w ebsite in a Portable D ocum ent

    Format(.pd9 fle.Ipreservedandcopie thewebsitetothecomputer'sharddrive.
    1alsomadeprintedcopiesofthiswebsitefrom theharddrive(AttachmentZ).
        27. On October27,2020,Ilogged onto theFTC computerto againview the

    websitelocated atm      .digiulincom esvste= eview com and to preserveevidence
                                                        .




    ofmy online experience.Specifcally 1w anted to capture, on video,w hen visitors

    ofthewebsiteclick on I<taearn M ore''and çtGetM oreDetails''tabs, thesite

   redirectsthem to thew ebsite w w w .diaitalincom esystem ,com w ebsite.

   embedded within thewebsite.To accomplish thistu k, Iused a w ebsite capture

   computerprop nm called Ktcnmtasia''which recordsavideo ofany action that

   appears on the com puter screen and savesthe recording electonically in a

   M PEG-14(.mp4)digitalmultime iaformatthatallowsyou toplaythevidx on
   W indow M ediw Realone Player,and otherm edia soRw are. !preserved and copied

   the w ebsite video to the com puter's hard drive and onto a D V D disc

   (Attachm entAA).
                b. Y ouTube V ideo C aptures

         28. On Januaa 30,2020,Ilogged onto theFTC com putertosearch the




                                                                            PX 1,pg.10
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    online W deo sharing platform , YouTubeatwww .voutuhç.com .Once on thesiteI

    did asearch forDigitalIncom e System and Brandon Frye Ilocated a Y ouTube
                                                              .




    Wdeo title SD igitallncom e System Review :$12,500 in ONE bAY !?''wlzich
    feamred an individualwho identiled him selfasBrandon Frye. n eWdeo upload

    date w as Septem ber 17,2019.To preserve m y online experienceand thevideo, I

   used a w ebsite capture com puterprogrsm called x<c am tasia'', w hich records a

   video ofany action thatappearson the computerscreen and savestherecording

   eleclonicallyinaM PEG-14 (.mp4)digitalmultimediaformatwhichallowsyouto
   play thevidx on W indow M edia,Realone Player, and otherm ediaso> are.I

   preserved and copied theYouTubevideo tothe oomputer'shard driveand onto a

   DVD (Iisc(AttachmentBB).
         29. O n February 4,2020,Ilogged onto the FTC com puterto search the

   onlinevideo sharingplatform,YouTubeatw ww .youtube.com .Once on the site I

   did asearch forDigitallncom e System and Brandon Frye. 1located a Y ouTube

   d deo titled ç'D igitalIncom e System - N EW D igitmllncom e System ChangesTake
                                                  .




    EsectSoonl''which feam red an individualwhoidentifed himselfasBrandon

   Frye.Thevideo upload datewasNovember8,2019 To preserve m y online
                                                       .




   expe enceand thevideo,1used awebsitecaptureprop am called

   çf nm tasia''7w hich recordsa video ofany acHon thatappem on the com puter


                                           11



                                                                          PX 1,pg.11
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    screen andsavestherecording electronically inaM PEG-14(.mp4)
    digitalmultimediaform atthatallowsyou to play thevideo on W indow M edia,

    RealonePlayer,and otherm edia sohware. Ipreserved and copied the Y ouTube

    videotothecomputer'sharddriveandontoaDVD disc(AttachmentCC)               .



          30. On Febm my 6,2020,llogged onto theFTC computerto search the

    onlineWdeo shnring platform ,YouTube atw ww .voutube.com .O nce on the site 1
                                               -




    did a search forD igitalIncome System and Brandon Flye Ilocated a Y ouTube
                                                          .



    video titled Sr igitalIncome System Proof- M y BIGGEST Check Yet!!''which

    feamred an individualwhoidentised himqelfasBrandon Frye. 'rhe video upload

    datew asJune 23,2019.To preserve m y online experience and the video, l

   use awebsitecapmre computerprogram called dtcam tasia''which recordsa

   video ofany action thatappearson thecomputerscr- and savestherecording

   electronicallyinaM PEG-14 (.mp4)digitalmultimediaformatwhichallowsyouto
   play thevideo on W indow M edia, RealonePlayer,and othermediasohware I         .



   preservM and copied theY ouTubevideo to thecomputer'qhard driveand onto a

   DVD disc(Attaehm entDD).
         31. O n M arch 4,2020,Ilogged onto the FTC com puterto search the

   onlinevideo sharingplatform ,Yourfubeatwww .youtube.com .Once on the site I

   did a search forD igitalIncom e System and Brandon Frye. Ilocate a Y ouTube


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                                                                      PX 1,pg.12
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    video étled <r igitalIncom e System Products W hatAreThey?''wM ch

    feam re an individualwhoidentiled him selfasBrandon Frye. The video upload

    date wasO ctober9,2019.To preservem y ol ineexperience and thevideo, 1

    used awebsitecapturecomputerpm gram called ççcamtasia''> which recordsa

    d deo ofany action thatappem on thecomputerscreen and savestherecording

    electonicallyinaM PEG-14 (.m# )digitalmultimediaformntwhichallowsyouto
   play the video on W indow M edia,Realone Player, and otherm ediasoN are.I

   preserved and copiedtheYouTubevideoto the computer'shard driveand onto a

   DVD disc(AttachmentEE).
         32. 0n A ugust 13,2020,Ilogged onto the FTC com puterto search the

   online video sharing platform ,Y ouTube atw w w .youtube.com .O nce on the site I

   didasearohforDi/talIncomeSystem andJenniferHedrick.IlocatedaYouTube
   video titled 'E an You M akeM oney Oï inein 2020??W ith ThisAutom ated

   System Y ou Can''which feam red an individualw ho identised herselfasJennifer

   Hedrick.n evideo upload datewasJanuo 14;2010 Topreservemy online

   experienceand thevideo,Iused awebsitecapm reprogram called

   ççcsm tasia'',which records a video ofany action thatappearson the com puter

   screenandsavestherecordzgelectroically inaM PEG-14(.m# )digital
   m ultim edia form atthatallow syou to play the video on W indow M edia,


                                           13



                                                                         PX 1,pg.13
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    RealonePlayer,and otherm ediasoH are.Ipreserved and copied theYouTube

    videotothecomputer'sharddriveandonto aDVD disc(Attachm entFF).
                c.Facebook Captures

          33. O n O ctober27,2020 and N ovem ber3, 2020,1logged onto theFTC

    com puterto search the socialm edia platform ,Facebook atw ww .facebeok com.   .

    Once on thesite Idid a search forBrandon Fryeand locatedhispersonalpage. l

   determined thathisFacebookpage could bepublicly viewedwithoutm ehaving to

   inifate electronic orpersonalinteraction with Frye Iconducted a search ofhis
                                                      .



   Facebook page using the search term g,'D igitalIncom e System ''and Q<D IS''

   spœ ifk ally searching forpostsrelating to D igitalIncom e System . Ilocated several

   postsrelatingtoDi/talIncomeSystem andtopreservemyonlineexperienceand
   theposts,1used a w ebsite capture progrnm called Itsnaglt'', whioh takesa

   screenshotof w hatis displayed on the com puterscreen and saves itin a Portable

   DocumentFormat(.pdl)fle.Ipreservedandcopiedtwelvescrœ nshotsâom
   Fa e'sFacebook page,datedbetweenApril6, 2019 and Apr,
                                                       i;21,2020,to the

   oom puter'shard ddve,Ialsom adeprinted copiesofthiswebsite9om thehard

   drive(AttachmentsGG thru RR).
          34. O n O ctober27,2020,Ilogge onto the FTC com putertp search the

   socialmediaplatform ,Facebook atw ww.facebook com .Onceonthesite1did a
                                                     .




                                           14



                                                                         PX 1,pg.14
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    semrch forJenniferH eddck and locatM herpersonalpage. Idetennined thathis

    Facebook pagt could be publicly viewed w ithoutm e having to initiate electronic

    orpersonalintem ction w11 Hedrick.Iconducted a serch ofherFacebookpage

    usz g the search term s,fsD igitalIncom e System ''and Gr IS'' speciscally searching

    form stsrelatingtoDi#talIncomeSystem .Ilocatedseveralpostsrelatingto
   DigitalIncome System and to preservem y onlineexperienceand theposts, lused

    awebsitecapturecomputerprogm m called tçsnaglt''which tmkesa screenshotof

   w hatis displayed on the com puter screen and savesitin aPohableD ocum ent

   Format(.pd9 fle.lpreserve andcopiedninescrœ nshotsfrom Hedricks's
   Facebook page,dated betw een July 17,2019 and A ugust22,2019 to tlze

   com puter's hard drive.Ialso m adeprinted copies ofthisw ebsite from the hard

   drive(AttaehmentsSS thruAAA).
          35.On October20,2020,Ilogged onto theFI'
                                                 C computerto search the

   socialm ediapladbrm ,Facebook atw ww .facebook.com .Onceon the site Idid a

   search forBrandon Frye and located b5Apersonalpage.Jdd erm ined thathis

   Facebook page could be publicly view ed w ithoutm e having to initiate electronic

   orpersonalinteracdon w ith Frye.Iconducted a search ofM sFacebook page using

   the search term s,tr igitalIncom e System ''and <O IS''1specifcally se>rching for

   postsrelating to DigitalIncom eSystem .1located apostrelated to Digital


                                            15



                                                                           PX 1,pg.15
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    Incom e System ,thatincluded a video. Topreservem y onlineexperienceand the

    video,IUSH aw ebsite capturecom puterprop am called Sdcamtasia''which

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   postand video dated,April8,2019,tothe computcr'shard driveand onto aDVD

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   search forBm ndon Frye and located hispersonalpage. IdetenninM thathis

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    search forBrandon Fryeand located hispersonalpage. Ideterm ine thathis

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   postand video dated,M ay 29,2019,to thecomputer'shard driveand onto aDVD

   disc(AttachmentDDD).


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Case 1:20-cv-24721-UU Document 1-2 Entered on FLSD Docket 11/17/2020 Page 21 of 223




          38. O n O ctober20,2020,Ilogged onto the FI'C com puterto search the

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Case 1:20-cv-24721-UU Document 1-2 Entered on FLSD Docket 11/17/2020 Page 22 of 223




          Pursuantto28U.S.C.j 1746,lhereby declareunderpenaltyofperjuly that
    tlle foregoing is true and corect.

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Case 1:20-cv-24721-UU Document 1-2 Entered on FLSD Docket 11/17/2020 Page 24 of 223




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 The nnme ofthe oom oration is:
     D IGITAL INCOM E SYSTEM INC


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 Theprincipalplace ofbusinessaddress:
     6619 SOW H DIM E HW Y
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     W AM I,FL. 33143

 Tlzem niling addressofthe cop oration is:
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registered agent.
Registe   AgentSi- ture: DEREK FOLEY

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Case 1:20-cv-24721-UU Document 1-2 Entered on FLSD Docket 11/17/2020 Page 26 of 223




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 Case 1:20-cv-24721-UU Document 1-2 Entered on FLSD Docket 11/17/2020 Page 27 of 223
  2020 FLORIDA PROFR CORPOM TIONANNUAL REPORT
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 Entity Name:DIGITAL INCOME SYSTEM INC                                                   Secx tal ofState
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Case 1:20-cv-24721-UU Document 1-2 Entered on FLSD Docket 11/17/2020 Page 30 of 223




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 Case 1:20-cv-24721-UU Document 1-2 Entered on FLSD Docket 11/17/2020 Page 31 of 223

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Case 1:20-cv-24721-UU Document 1-2 Entered on FLSD Docket 11/17/2020 Page 34 of 223




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Case 1:20-cv-24721-UU Document 1-2 Entered on FLSD Docket 11/17/2020 Page 36 of 223

                                 Shopper lnfo for Shopper ID 71021827


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    NWCED.COM                          OActive                         1/20/2015          1/20,'2021     783654777
    RESIDUALCASH4LIFE.COM              8Cancelled                 .     1/21/2015          1/21/2018     7:3656272    l
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                    COM                0Active                         4/8,/2015          4/8/2021      815511700
    MYRPMSYSTEM.COM                   8Cancelled                       5/6/2015           5/6/2018      826550944
   RPMROTATOKCOM                      8Cancelled                       5/11/2015          5/l1/2019     828488987
   BEYONDTHEMOLD.  COM                8Cancelled                       5/13/2015          5/13/2017     829278:71
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     RPMGUARANTEE.COM                   8Cancelled                      7/2!/2015         7/25/2017     357694224
     NWCSPECIALS.COM                    8Cancelled                      8,/23/2015        8/23/2017     868658#05
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    cvdt:st-com                         8Cancelled                      1/26/20t6          :/26/2018    929614425
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    textbizxnet                        8Cancelled                      8/3/2016           8/3/2017      1009367529
    brandonfqeinlb                     0Adive                          9/20/2016          920/2022       I029051197
    brandonfryt.biz                    (1Active                        9/20/20l6          9219/2022     1029051197
    free-teolbox.coln                  8CancelLed                      9/23/2016          9/23/2018     l030821083
    free-toolbox.info                  8Cancelled                      9/24/2016          9/24/2017     )030821O83
    postcardpcof.com                   OActive                         19/:9/2016         10/19/2020    1037t58785    (
    bpsfkmnel.com                      8Cancelled                      11/5/2016          11/5/2018     1048381340
    secretcoacbingsoci ety.
                          com          8Cancelled                      11.?16/201f)    11/t&2018 105:374818
   resi dualhomcbiz. com               0Active                         1/9/2017        1/9/2021   107570948l          ,
   residualbomebiz.net                 8Cancelled                      1/17/;2017      1/17/?2019 1079209915          t
   l'esidualhomebiz. info              8Canctlled                      1/17/2017       1'?I7/2019 (0792099I5
   4xtoole x,com                       8Cccelled                      7/5,/2017       7/5/2018    I156680905
   imlreview.com                       8Cancelled                     7/8/2017        7/8/2018    1158083180          :
   callcentercashflow-corn             8Cancelled                      10/2/20!7      10/2/2018 1197232425
   callcentercashtlom info             8Cancelled                      l0/2/2017      I0/2/20I: !197232425
  unitedweatthpartners.net             0Amive                         10.85/2017      l0/5/2020         ll98660761    ë
  stm -optionmcom                      8Cancelled                     12/7/2017       12/7/2018         1232768911
  stcemithelp.com                      8Clmcelled                     l/21/20I8       l/2t/2019         1253254816
  mintaprotlt.com                     8Cimcelled                      6/16/20l8       6/16/20l9         1323938370
 'brandonfzye.us                      0Active                         6/29/2018       6/29/2020         1331024054
  nwctlxrive.com                      ()Active                        &t0Q01*         8/10/2020         1351257890
  nwefunnel,com                       0Active                         9/l5/2018       9/15/2020
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      hugepayous.com                         0Active                   I1/12/2018 11/122020         l396:89244
      callcentercashtlow.com                 f)Active                  3/14/2019 3/14/2021          146153883l
     readylbrchœlts,com                      0Arive                    4/11/2019 4/11/202I          1476114642
     digitallccm rsystc reviesv.com             0Active                4/14/2019     4/14/202I      1477563845
     brnndnnfrye.tv                           r
                                                0Active                5/16/2219     5/16/2020      1493525159
     ourteamresults.com                         0Active                6/l3/20I9     6/18/2020      15105342l6
     leadprofmnxcom                             0Active                10/12/2019    10,/122020     1570009842
     sponsorsbopping-com                        0Aetive                l1/20/2019    l1/20/2020     l589335198
     litkbeyondwell.com                         OActive                Il/21,/20I9   11/21/2020 1589900324
    lifebeyondwell-net                          0Active                11/21/2019    11/21/2020 1589900324
    lifebeyondwellness.net                     9Active                 11/21/2019    l1/21/2020 1589900324
    tifebeytmdwellneâs.eom                     ()Active                k1/21?'2019   1l/21/2020     l589900324    j
    Iifebeyondwell.  org                       0Active                11/212019      11/21/2020     1589900324
    lifebeyondwellness-org                     0Active                 l1/21/20I9    I1/21/2020     1589900324
    lifcbeyondwellness.co                    t0Active                 l1/21/2019     l1221/2020     1589900324
    lifebeyondwell.info                        0Active                ll/21./20l9     1l/21/2020 l5:9900324
   lifebeyondwellness.fnfo                    t)Active                1lJ21/2019      ll/21/2020 l589900324
    uetlibe.com                               0Active                 12/5/2019       I2/5,72020 15971l8962
   beyondwmllnessintemitional.colu            ()Active                12/5/2019       12/5/2020  l597636331
   alokateas-com                              0Active                 1/l6/2020      61,/
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   alokaoils.eom                              0Aetive                 1/16/2020       1/1611e2l rl618558864       !
   onealoka-com                               0Active                 l/l6/2020       1/16,72021 1618558864
   alokatca.uom                              0Act
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    PrivateLabelID:     1
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    Fosta!Code:        33155
   Country:            US
    PhontWork:         +1.3059620282
   PhoneHom e:
   Mobite:
   Fax:
   Email:              dfoleyhns@gmail.com
   DateCreated:        6/4/2* 47:58:43AM
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             COM                    0Aciile                     6/4/2004      6/4/2620         13777001
   AFFILIATETORNADO.COM             8Cancclled                  9/16/20%
                                                                              9/16/2016        19082603
   AFFILIATEHURRICANE,COM           8Canccllcd                  9/16/2004     9/16/2008        19082603
   INSTANT-MONEY-MAKEKCOM          8Cancelled                   2/16/200
                                                                        5    2/16,Q007         22628520
   BILLSBIZ.COM                    8Cancelled                   2/26/2005    2/26/2009         22913094
   MLMTRAINING9II.COM              8Cancelled                   3/8/2005     3/8/2009         23212713
   MLMEMERGENCY,COM                0Activr                     3/8/2005
                                                                             3/8/2022         23212713
   FZW EALTH4ME.BIZ                8Cancelled                  4/26/2005     4/25/2007        24
                                                                                                 58221l
   EZWEALTH4MEVOM                  8Cancelled                  4/26/
                                                                     2005    4/26/2007        24582211
   EZW EALTH4MENET                 8Cancelled                  4/26/200
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   EZW BALTH4ME.INFO               8Cancelled                  4/26/2005     4/26/2007        24
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   NITETRIMOFFER.COM               8Cancelied                  4/28/2* 5     4
                                                                              /28/2006        24668226
   ONUNEBUSINESSEXCHANGE.COM       8Cancelled                  5/62005       5/6/2010         24797889    '
   HOMEBUSINESSJXCHANGE.NET        8Cançvltd                   5/6/2205      5/6/1.(%9     24797889
     MYBLOGOGER-COM                %Cancelled                  5/14/2005      5/14
                                                                                   /2010 25:90333
     M LMALTERNATIVE.COM           8Cancellcd                  5/17/2005
                                                                              5/17/2018 25171999
     EMERALDALTERNATIVE.COM        8Cancelled                   5/20/2005 5/20,9.90* 2525215l
     FZCOASTALCOM                  8Cancelled                   5/20/* 2005 5. '20/2008 25252151
     EVENTISALT.COM                8Cancelled                   5/25
                                                                      /2005 5/25/006 25384903
     LIBERTYLEAGUEALXCOM           8Cancelltxl                  5./25/2005 5/25/2006 25384903
     W EMAKEYOURSALES.COM          0Active                      6/2
                                                                    /2* 5    6/2/2020     25590263
     EFFORTLESSINCOM E.COM         76Expdomainreassigned        6/10/2005
                                                                             6/10/2014 25818027
    8007047344.81Z                 8Cancelled                   6/11/200
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    8007047344.NE-1-               8Cancelled                  6
                                                                 /11/2005 6/l1/2006 25846559
    8007* 7344.C0M                 8Cancelled                  6/11z'2005 6/11/2006 25846559
    8007047344EX7-82048F.C0M       8Cancelled                  6/11/2005 6/11/2006 25846559
    8007047344.1NF0                8Cancclled                  &f1/2* 5 6/
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    EMERALDCALLCENTEKCOM          8Cançelled                   6/1:/2005
                                                                             6/18/2(:)7 26038259
    W BMAKEYOURSALES.NET          8CancellM                    8/15/2005 8/16/2007 27670627
   W HOISTEAMFALCON.    COM       8Cancet lvd                  9/7/2005      9/7/2007    28349032
   W HOISBILLFOLEVCOM             8Cucelled                    9/7/ 2005    9/7/2029     28349032
   BUSINESSFORTHEBUSK BIZ         8Cancdled                    9/t5/2005 9/14
                                                                                 /2007 28617414
  'BUSINESSFORTHEBUSY.COM         8Cancelled                  9,/15/2005 9/15/2007 28617414
   BUSINESSFORTHEBUSY.NBT         8Cancelied                  9/15/2005 9/15/2007 28617414
   BUSINESSFORTHEBUSV INFO        8Cancelled                  9/15/2005
                                                                            9/15/2007 28617414
   BUSINBSSFOM USYPEOPLE.COM      8Cancelled                  9219/2005 9/19/2007 28734988
   ORDERCOASTALNOW .    COM       8Cancelled                  9/28/2005 9729/2007 29035615
   COASTALVACATIONS-              8Cancglled                  10/4/2005 10/5/200
  CALLCEN                                                                             7 29286855
             TER-COM
   EXTREMEPROSPECTING.    BIZ     8Cancelled                  11/22/2005    11/21/20
                                                                                    07       313l1923
  EXTREMEPROSPEW ING.NET          8Cancelled                  11/22/2005    l1/2
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  EXTREMEPROSPECTING.COM          8Cancelled                  11/22/2905    11/22/2013       31311923
  EXTREMEPROSPECTING.m FO         8Cancolted                  lt/22/2005    11/22/2907       31311923
  IWANTABETTERCAREEKCOM           %Ca ell H                   12/9/2& 5
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    SEVENFCGURECAREER.COM           8Cancelled                  12/9/2005     12/9/2007    32045903
    TODAYSENTREPRENEUR.COM          8Cancelled                  12/14/2005    12/14/2007   32263591
    SALESPROBUSINESS.COM            8Cancelled                  12/14Q005     12/1422007   32263758
    SFNENFIGURETEAM .COM            8Cancelled                  12/15/2005    12/15/2007   32300893
    AUTOMATIC-MARKETER.COM          8Cancelled                  1/26/2006     1/26/2008    34192780
    MLMRECRUITINGSOLUTION.BIZ       8Ctmeellu                  2/6/2006       2/5./2008    34735744
    M LM RECRUITINGSOLUTION.COM     8Cancelled                 2./6/2006     2/6/201l      34735744
   M LMRECRUITINGSOLUTION.  N ET    8Cancelled                 2/6/2006      2/6/2002      34735744
   MLMRECRUITINGSOLUTION.INFO       8Cancelled                 276/20%       2/6/2008      34735744
   THEGOLDCALLINGPRO.COM            8Cancelled                3779006        3/7/2008      36437962
   W WW-GOLDCALLING.BIZ             8Cancelled                3,/7/2006      3/72008       36447206
   WW W-COASTALVACATIONS.BIZ        8Cancelltd                3/7/2006       3/7/2008      36447289
   WW W-QOLDCALLINO,  COM           8Cancelled                3/7/2006       3/8/2008      36447206
   NVW W-GOLDCALI-ING.NET           8Caacelled                3/7/2006       3/8/2008      36447206
   WW W-COASTALVACATIONSN ET        SCancelltd                3/7/2(06       3/8/2œ 8      36447289
   W WW -COASTALVACATIONS.COM       8Cancelled                3/7/2006       3/8/2008      36447289
   W WW-SAVEONTRAVEL.COM            8Cancelled                3/7/2006       3/8/2008      36449166
   WWW-GOLDCALLING.INFO            8Cancelled                 3/8/2006       3/8/2008      36447206
   W WW-COASTALVACATIONS.INFO      8Cancelled                 3/82006        3/8/2008      36447289
   EVERYDAYtK.BIZ                   8Cancelled                3/8,,*2006     3/7/2008      36479012
   EVERYDAYILCOM                   8Cimcelled                 3/8/2006       3/8/2009      36479012
  iEVERYDAYIK,  NET                8Cancelled                 34/2006        3/8/200*      364790!2
   EVERYDAY ILINFO                 8Cançelled                 3/8./2006       3/8/2008     36479012
   W WWSUCCESSCONTACIOKBIZ         BCancelled                 3/10/2(106      3/9/2007     36625355
   W WW-SUCCESSCONTACTOKBIZ        8Cancelled                 3/10/2006       3/9/2007     36625355
   W WW-SUCCESSCONTACTOK NET       8Cancelled                 3/10/2006       3/10/2007    3662535$
   W WWSUCCESSCONTACTOR.COM        8Cancelled                 3/10/2006       3/10/2007    36625355
  W WW-SUCCESSCONTACTOKCOM         8Cancelled                3/10/2006       3/10/2007     36625355
   WW WSUCCESSCONTACTOK NET        8Cancelled                3/l0/2006        3/10/2007    36625355
  W WW -SUCCESSCONTACTOR.INFO      8Cancelled                3/l0/2006       3/10/2007     36625355
   WW WSUCCESSCONTACTOK INFO       8Cimcelled                3/10/2006       3/10/2007     36625355
  PASPERFORMANCETEAM .BIZ          8Cancclled                3/14/2* 6       3/13/2008     36830724
  W WW -PAS.BIZ                    8Canctllt'd               3/14/2* 6       3/13/2008     36832123
  PASPERFORMANCETEAM.NE'I          8Cancelled                3/14/2006       3/14/2008     36830724
  PASPERFORMANCLCOM                8Cancelle                 3/14/2006       3/14/200*     36830724
  PASPERFORMANCETEAW COM           8Carelled                 3/14/2006       3/14/2008     36830724
  PASPERFORMANCEGROUP.BIZ          8Canceled                 3/14/20*        3/13,/2008    36835584
  WW W-PAS.NET                     8Cancelled                3/14/20%        3/14/2008     36832123
  PASPERFORMANCEGROUP.NET          8Cancelled                3/14/2006       3/14/2008     36835584
  PASPERFORMANCEGROUP.COM          #Cancelled                3/14/2006       3/142008      36335584
  PASPERFORMANCETM M.INFO          8Cancelled                3/14/2006       3/14/2008     36830724
  WW W -PAS.INFO                   ?Cancelled                3/14/2006       3/14/2008     36832122
  PASPERFORMANCEGROURINFO          8Cancelled                3/14/2006       3/14/2008     36835584

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       Z4KMONTHLY.BIZ                  8Cancelled                            3/212006
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       M KMONTHLY.NET                  $Cancelled                            3/20/2* 6     3/2
                                                                                              1/2K 8    37189658
      .N KMONTHLV COM                  8Cancelled                            3/20/2006     3/21,
                                                                                               /2008    37183658
      Z4KMONJ'HLY.1NFO                 8Cancelled                            3/21/2006 3/215008         3718.3658
         M KMONTHLYBLDEPRINT.BIZ        8Cancelled                           3/21/2606     3/20/2008    37222483
         N KMONTHLYBLUEPRINRLCOM        8Cancelled                           3/21/2006     3/21/2008     37222483
         M KMONTHLYBLUEPRINT.NET       8Cancelled                            3/21/2006     3/21/200
                                                                                                   8    37222483
         W EGUARFNTEESUCCESS.BIZ       8Cancelled                            3/2!/2005     3/20/2008
                                                                                                        37228936
        W EGUARENTEESUCCESS.COM        8Cmwelled                             3/21/2006    3/21/2008     37228936
        SVEGUARENTEESUCCESS.NET        8Cancelled                            3/2(/2*6     3/21/2% 8     37228936
        Z4KMONTHLYBLUEPRm T.INFO       8Cancelled                            3/21/2006    3/21/2008     37222483           t
        WW W-GUARANTEEDPROFITS.COM     8Cançelled                           3/21/2006     3/21/2008     37232141
        WEGUARENTEESUCCESS.INFO        8Cuncelled                           3//21/2006    3/21/2* 8     37228936       !
        WWW -GUAM NTEEDSUCCESS.COM     8Cancelltd                           3/21/2006     3/22/2008     37240488
        GUARANTEEDSUCCESS.ORG          8Cancelled                           3/22/2006     3/22/2008     3724048:
        6KTHISW EBK,BiZ                8Cancelled                           3/22/2006     3/22
                                                                                              /2008     37303710
        6KTHISWEEKN ET                 8Cancelle                            3/22/2006     3/23/2008
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       6KTHISWEELCOM                   8Cancelled                          3/22/2006      3/23
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       6KTHISW EEK.INFO                8Cancelled                          3/23/2005      3/
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       SIXKTHISW EELCOM               8Cancelled                           3/31.72006    3,/31,72008   37781802
       LFADCAPTUREMOVIE.BIZ           8Cancelled                           4/3/2006      4/2/2007      37942270
       CUSTOMLEADCAPTURE.BIZ          8Cancelled                           45/2* 6       4..,2/2008    37947345
       LEADCAPTUREMOVIE,NET           8Cancellthd                          4/3/2006      4,5, /2009    37942270
       I-EADCAPTUREMOVIE.COM          8Cancelled                           4/3/2006      4/3/2009      37942270
       CUSTOMLEADCAPTURE.NET          8Cancetled                           4/3/2026      4/3/2* 8
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       CUSTOMLEADCAPTURE.COM          8Canoelled                          4/3/2006       4/3/2009
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       LEADCAPTUREMOVIE.INFO          8Cancelled                          4/3/2006       4/3/2007      37942270        I
      CUSTOMLEADCAPTURE.INFO          8Cancelled                          4/3/20*        4/3/2008
                                                                                                        37942345
      W BMAKEYOURSALES,BIZ            8Cancelled                          43/2006        4/3/2007       37959066
      W EMAKEYOURSALES.INFO           8Cancelled                          4/4/2006       4/4/2007       3
                                                                                                         7959066
      FOLEYBILL.BIZ                   8Cancelled                          4/5/2006       4/*20
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      FOLEYBILL.NET                   8Cancelled                          4/5/2006       4/5/2
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      FOLEYBILL.COM                   8C:nodled                           4/5/2006       4/5/2017
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      FOLEYBILL.INFO                 8Cancelled                           4/5/2006       4/5/2008
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     !HOMEBIZGENERATOK BIZ           8Cancelled                          4/10/2006       4/9/2008      38369056
      HOMEBIZGENEM TOR-NET           8Cancdled                           4/ /10/2006     4/10/2008     38369056
      HOMEBIZGENERATOR.COM           8Cancelled                          4/10/2006       4/l02009      38369056
      HOMEBIZGENERATOR.INFO          8Cancdled                           4/19/2006       4/10/2008     38369056
      AUTOMATICMONEYBIZ.BIZ          8Cancelked                          4/12/2006       4/11/2008     38499045        l
      AUTOMATICMONEYBIZEOM           8Cancelled                          4/11/2006       4/12/2009     38499* 5
      AUTOMATICM ONEYBIZ. NET        8Cancelled                          4/12/2006       4/12/2008
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     AUTONGTICMONEYBIZ.INFO          8Cancvlled                          4/I2/2006       4/12/2008
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     SAVEONCOASTALBE                 8Cancclled                          4/13/2006       4/12/2008
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     SAVEONCOASTAL,NET               8Cancelled                          4/13/2*6        4/13/2008     385
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   SAVEONCOASTALCOM                  8Cancelled                  4/13/2006    4/13/200:     3
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   SAVEONCOASTALINFO                 8Canoelled                 4/13/2006     4/13/2008     38553
                                                                                                 762
   TM FFICTHATBLJYS.BIZ              8Cancelled                  5/4/7006     5/4/2008      39805028
   BETTERTHANTRAFFIC.BIZ             8Cancelkd                  5/42006       5/4/2008      39806028
   TRAFFICTI-IAD LJYS,NET            8Cancelled                 5/42006       5/5/2008      39806028
   BETTERTHANTRAFFIC.NET             8Cancelkd                  5,/4/2X 6     5/5/2008      39806028
   TM FFICTHATBUYS.COM               8Cancelled                 5/4/2006      5/5/2008      39806028
   BETTERTHANTRAFFIC.COM             8C,ncelkd                  5/4/2006      5/5/2X 8      398060
                                                                                                  28
   TRAFFICTHATBUYS.INFO              8Cancellvd                 5/5/2* 6      5/5/2* 8      39:06928
   BEW ERTHANTRAFFIC.INFO            8Cancelled                 5/5/2006      5/5/2008      29806
                                                                                                 028
   W WW -                            8Cancelled                 5/12/2006     5/12/2008     40275019
   PROSPERIW AUTOMATEDSYSTEM .COM
   YOUR-PASSIVE-INCOM E.BIZ          8Cancelled                 5/15/2006     5/14/2009     40433981
   YOUR-PASSIVE-INCOM E.COM          8Canctlled                 5/15/2006     5/l5/2010     40433981
   YOUR-PASSIVE-INCOME.NET           8Cimcelled                 5/15/2006     !/15/2009     40433981
   YOUR-PASSIYE-INCOME.INFO          8Cancelled                 5,/15/2006    5/15/2009    40433981
   CONFIRMINGREQUESTS.
                     COM             8Cancellçd                 5/16/1.006    5/16/2009    42502636
   PROSPERITYCLOSERS.NET              8Cancelled                 5/22/2006    5/23/2007    40914955
   PROSPERITYCLOSERS.COM              8Cancelled                 5/23/20%     5/23/2007    40914955
   THEPROSPERITYCLOSERS.COM           2Cancelld                  5/23/2006    5,/23/2007    40914955
   THEPASCLOSERSVOM                   8Cancelled                 5/23/2906    5/23/2007     40914955
   THEPROSPERITYCLOSERS.NET           8Cancclled                 5/23/2006    5/23/2007     40914955
   THEPASCLOSERS.NET                  8Cancelled                 5/23/2006    5/23/2097     40914955
   PASCLOSERS.COM                    8Cancelled                  5/23/2006    5/23.Q007     40914955
   PASCLOSERS.NET                    8Cancelled                  5/23/2006   5,723/2007     40914955
   HOMEBUSINESSREBEL.NET             8Cancelled                 5/24/2006    5.724/2008    40977t03
   HOM EBIZREBELCOM                  8Cancelled                 5/24/2006    5/24/2017     40977103
   HOMEBUSINESSREBEL.COM             8Cancelled                 5/24/2006    5/24/2009     40977
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   HOMEBIZREBELNET                   8Cancelled                 5/24/2006    5/24/2009     40977103
  M YLEADMAILER.NET                  8Cancelled                 6/1/2006     6/1/2008      41432640         '
  MYLEADMAILEKCOM                    8Cancelled                 6/1/2006     6/1/2008      4!432640
  THEPROSPERIW MOVIE.COM             76 Expdomainreassigned     6/14/2* 6    6/14/2009     42220442
  THECONTAW FORM . COM               8Cancelled                 6/14./2*6     6/14/2008     42220442
  THEINCOMESUPERSTOREEOM            *Cancelled                  6/20/2006    6/20/2(*7      4257947:
  PASSIVEINCOMESUPERSTORE.COM       8Cmlctlled                  6/20/2006    620/2007       42579471        1
  D EPASSIVEINCOM EM EGAPm GE.COM   8Cancelled                 6/20/2006     6/20/2* 7      42579471
  THEINCOMESUPERSTORLNET            8Cancelled                  6/20/20*     6/20/2007      42579471
  PASSIVEINCOMESUPERSTORENE'T       *Cancelled                 6/20/20%      6/20/2X 7     42579471
  THEPASSIVEINCOM EMEGAPAG GE.NET   8Cancelled                 6/20/2006     6/20/2007     42579471
  THEHOMEBIZREBEL.NET               8Cancelled                 6/21/2006     6/21/2008     4263854
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  HOME-BIZ-REBELNET                 8Cancelled                 6/21/2006     6/21/2008     42638546
  THEHOMEBIZREBELCOM                BCmwelled                  5/21/2106     6/21/2008     426385
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  HOME-BIZ-REBELCOM                 8Ci mcelled                6/21/2006     6/21/2009     42638546
  IOOHOMEBIZNAMES,COM               8Cancelled                 7/5/2006      7/5/2008      43481241


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    XURK PASTEAMCOM.                    8Cancelkd                  7/14*/
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      TURBOPASTEAMNET                   8Cencelled                 7/14/2006
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      NOSELLING SECRETS.BIZ             8Cancelled                8/21/2006      8/20/2009    4
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     NOSELLINGSECRETS.N6T               8CancellH                 8./21/2006     8212009      46491373
     NOSELLINGSECRU S.COM               8Cancqlted                8/21/2006      8/21/2û09    46491373
     NOSELLINGSECRETS.ORG               8Caluetled                8/2t/2(%6      $/21/2009    46
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     NOSELUNGSECRETS.INFO               8Cancelled                8/21/2006      8/2
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     AUTOMATEDINCOMEREVIFW .NET        8Cancelled                  8/31/2006     8/31/200*    47161882
     ASKTHEHOMEBIZGA U.NET             8Cancelled                  3./31/2006   8/31/2010     47161882 '
     ASKTHEWORKITHOMEOURU.NBT         8Ch mcdl ed                  8/31/2006    8/31/2008     47161882
     ASKTHEHOMEBUSINESSGURU.NET       8Cancelled                   8/31/2006    8/31/2008     47161832
     AUTOMATEDm COMEREVIEW .COM       8Cancelled                  8/3t/2* 6     8/31/2010     47161862
     ASKTHEHOMEBIZGURU.COM            8Cancelled                  8/31/2006     8/31/2008     47161882
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     ASKTHEWORKATHOMEGURU.COM         8Cancelled                  8/31/2006     8/31/2010     47161882
    INCOME-OPPORT> IW -REVIEW .COM    8Cancelled                  9,/1/2006     9/1/2010      47222073
    OPPORTUNIW -REVIEW .NET           8Cancelled                  9/1/2006      9/1/2010      47222073
    INCOME-OPPORTUNITY-REVIEW .NET    8 Cancelled                 9/1/2006      9/1/2010      47222073
    PROSPERIW -AUTOMAW D-SYSTEM .ORG 8Cancelled                   9,/1/2006     9/1,/2008     47222073
    TESTDRIVETHESYSTEM .COM           8Cancelltwd                 10/5/.2006    10/5/2010     49602
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    TESTDRW ETHESYSTEM .NET           8Canlxlled                  10/5/2006     103/2008      49602455
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   AUTOMATEDSALESMOVIE.COM           8Cancelled                   10/5/2006     10/5/2010     496û2602
   AUTOMATEDSALESPRODUCT.NET         8Cancelled                   10/5/2006     10/S2008      49610238
   AUTOMATEDSALESPRODUCT.COM         8Cancelled                  10,,5/2006     10/5/2010    49610238
   TESTDRIVETHESYSTEM .INFO          8Cancelled                  10/5/2006      10/5/2003    49602455
   TESTDRIVETHESYSTEM .ORG           8Cancelled                  10/5/2006      10/5/2008    49602455
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   ASSISTEDSPONSORING.COM            8Cancelled                  10/9/2* 6
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   AUTOMATEDSPONSORING.NET           8Cancelled                   10/92006    10/9/2008      49872022
   AUTOMATEDSPONSORING.COM           8Cancelled                   10/9/2006   10/9/2010      49872022
   ASSISTEDSPONSORING.NET            8Cancelled                   10/9/20*    19/9/2008      49872022
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  GURU-OOGLE.COM                    8Cmwelled                    10/26/2006
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  GURUOOGLE.  COM                   8Cancelled                   10/26/2006 l0/2
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    HOMEBIZOOGLE.COM                  8Cancelled                 10/26/2006      1
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    MAKEMONEYOOGLE.COM                8Canceiled                 10/26/2006      10/26/2007     51107840
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    INSTANTCOASTALDIRECTOR,COM        8Cfmcelled                 10/26/2006      10/26/2008     51l13273
    INSTANTCOASTALDIRECTOR.NET        8Cancelled                 10/26/2006      10/262 008     51l13273
    JKBEFORELUNCH.COM                 8Cancelled                 l1/6/2006       11/6
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    THREEKBEFOREEUNCH.
                     COM              8Cancelled                 l1/6/2006 11/6/2008 51:73748
    3KBEFORBLUNCH.NET                8Cancelled                 11/&2006 l
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    BILLFOLEYBLOG.COM                8 Cancelled                l1/17/2006 11
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    BILLFOLEYLIVE,
                 COM                 8Cançelled                 11/17/2006 1
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    BILLFOLEYONLINE.COM              8Cancelled                 l1/17/2006 1
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    WEALTHLEGACYTEAM.NET             8Cancetlod                 l1/19/2006 11/19/2008          52837718
    W EALTHLEGACYW AM.COM            8Canceled                  11/19/2006 1k/19/2010          52837718
    W EALTHLEGACYTEAM .INFO          8Cancelled                 l1/19/2006 11/19/2* $          52837718
    LIQUIDSUCCESSS.NET               8Cancelled                 :1/29/2006 l1/29/2008 53571704
   AUTOMATICH ALTHANDHEALTH.NET      8Cancelled                 l1/29/2006 11/29/2008 5357t-
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   LIQUIDSUCCESSS.COM                8Canxlled                  l1/29/2*6 11/29/2008 53571704
    AUTOMATICWEALTHANDHEALTR.COM     8Cancell ed                  11/29/2006    l1/29/2008     5.3571704
    PASSIVEINTERNETBUSINESS,COM      8Caacelled                   l1/30/2006    l1/30/2010     53650896
    PASSIVEINTERNETBUSINESS.NET      8Cancelled                   l1/30/2006    l1/302010      53650896
   BETTERTHANATIM ESHARE.COM         8Cancelled                   12/12/20*     12,/13/2008    54564628
   GLOBAL-RESORTS-NETW ORK.COM       8Cancelled                   12/12/2006    12/13/2008     54564628
   BEU ERTHANCOASIALNBT              8Cancelled                   12/12/2066
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   BEU ERTHANATIMESHARLNET           BCancelled                  1221222006     12/132008      54564628
   BETTERTHANYTB.COM                 8Cmwelled                   12/12/2% 6     12
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   GLOBALRESORTSNETWORKS.COM         8Cancelled                  17./12/2006    12213Q008     54564628
   BETTERTHANCOASTAL.COM             8Cancelled                  12/12/2006    12/13/2008     54564628
   MILLIONAIV LIFESW VETRAVEL,COM    8Cancelled                  12/12/2006    l2/13/2008     54564628
   BEW ERTHANYTB.NET                 8Cancelled                  1Q/12/2006    12/
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   NOMOREVOUCHERS.COM         '      8Cancelled                  12/14/24X)6   12/15/2008     54789424
   NOVOUCHERS.COM                    8Cancelled                  12/15/2006    12/15/2008     54789424
  NOVOUCHERS.NET                     8Cmwclled                   t2/15/2006    12
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  NOMOREVOUCHERS.NET                 8Cancelled                  1r15/2006     I2/l5QO0#      54789424
  W HYILEFPCOASTAL.BIZ              *Cancelled                   12/18/2006     12717/2008     54988449
  W HYILEFTCOASTAL.NET              8Cancelled                  12/k8/20%       17718
                                                                                      /2008   54988449
  WHYILEFTCOASTAL.  COM             8Cancelkd                   1:1/:8/2206     12
                                                                                  /18,/2008   54988449
  W HYILEFTCOASTAL.INFO             8Cancelled                 t2/1$/2006      12/18/2Q08     5498:449
  W HYILEFTCOASTAL.ORG              8Cancelled                  12/t8/2006     12/18/7008     549:8449
  ASGTEAMSITECOM                    8Cancelled                 l/l8/2* 7       1/l8Q0l0       57386817
  ASGTEAMSITE.INFO                  8Cancelled                 1/18/200
                                                                         7     1/18/2009      573868l7
  MARKETINGBURST-SYSTEM .COM        8Cancelled                 1/19/7007       l/l9/2009      57481087
  THEM ARKETINGBURST,CO M           8Cancelled                 1/19
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    MARKETINGBURST-SYSTEM .INFO        8Cancelled                    1/20/2007      1/20/2009     57481087
    GETRICHANDTAKEVACATIONS.COM        8Cancelled                    1/25/2007      1/25/201)     57987694
    GETZCHANDTAKEVACATIONSNET   .      8Csncelled                    1/25/2007      1/2522009     57987694
     GLOBALRESORTSLWSTEAM .COM         %Cancetled                    3/1/2007       3/1/2008     60378959
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     OLOBALRESORTSLW STEAM .INFO      8Caacelled                    3/1/2:07       3/1/2008      60378959
     JOINGLOBALRESORTSNOW .NET        8Cancelled                    4/16r2607      4/16/2009     65470290
     GETGLOBALRESORTSNOW .NET         8Cancelled                    4/16/2007      4/16/2009     65470290
     JOINGLOBALRESORTSNOW .COM        8Cancelled                    4/16/2007      4/16/2009     65470299
     GETOLOBALRESORTSNOW .COM         8Cancelled                    4/ /16/2007    4/16/2009     65470290
     EM IILIONAIRESYSTEM .COM         8Cancelled                    4/l8/2* 7      4/18/2017     65
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    EMILLIONAIREPRO.COM               8Cancelled                   4/18/200
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    BZMILLIONAIRESYSTEM .COM           8Cancelled                   4,/18/2007     4/18/2017     65684552
    NETMILLIONAIRESYSTEM .COM          8Cancelled                  4/l8/2007       4/18/2017     65684652
    BECOMEANEMILLIONARE.COM            8Cancelled                  4/18/2007       4/18/2009     65684652
    MLMEMERGO CY.NBT                   8Cancelled                  2/4/2008        2/
                                                                                      4/2009     97033976
    FREEBUSINESSTODAV COM              8Cancelled                  4/122008        4/12/2015     170476659
    AUTOMATEDINCOMEREVIEW .BIZ        8Cencelled                   9/16/2008      '9/15/2009     127177073
    AUTOMATEDINCOMEREVIEW .ORG        8Canoelled                  9/16/2008        9/16./2099    127177073
    AUTOMATEDINCOMEREVIEW .INFO       8Calwdled                   9/16/2008        9/16/2009     :27177073
   TOPCASHTEAM.tNFO                   8Cancelte                    l/l5/201
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    MLM EMERGENCY.NET                 8Cancelted                  3720/2012
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  .M LMEMERGENCY.       INFO          8Cancetled                  3/20/2012        3/
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   MLMEMERGENCY.ORG                   8Cancelled                  3/20/2012
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   TOPCASHTEAM.NET                    #Cancelled                  1/17
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   TOPCASHTEAM .ORG                   8Cancelled                  1/17/2013        1/17/2014    50
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   FREETOW INGPLUSINCOME.COM          8Cancelld                  3/72014          3/7,/2017     66447,5672    '
   FREETOWINGPLUSINCOME.NET           8Cancelled                 3/7/2014         3/7/2017      664475672
   FREETOW INGPLUSINCOME.ORG         8Cancelled                  3/7/2014         3/7/2017      664475672     $
   FREETOWINGPLUSINCOME.INFO         8Cancelled                  3/7/2014         3/7/2017      664475672
   FREETOWINGPLUSINCOM E,US          8Cancelled                  3/7/2014         3/6/2017      664475672
  bestfacee oktraininpcom            8Cancelled                  10/17
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  bigprofltform.com                  0Acdve                      1/30
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W emakeevery effortto ensurethataIItheproductsand servicespresentedonthiswebsiteaswellas
in a11otherpromotionalmaterials,arepresented fairly andaccurately andwith fulltransparency.W e
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                                 UserConductAgreem ent

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be tactful,respecx l,meaningful,and prostable.Y ile we understand thatpersonal
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Youshould exercisecaution and look attheprivacy statementappllcabletothewebsiteinquestion.
W e willnotsell,distribute orIease yourpersonalinformation to third parties unless required
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                 W e're turning the tech industry on its head,by m aking CRM technology
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                                   (PX 2)
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                               DECLAM TIO N O F EM IL T.G EO RG E
                                      Pursuantto28U.S.C.j1746

    1,Em ilT.G eorge,declare and state asfollow s:

             lam employedbytheFederalTradeCommission(EEFTC'')in W ashington,D.C.asa
    Forensic A ccountant. M y work address is600 Pennsylvania A ve.,N .W .,W ashington,D.C.
    20580. 1have worked atthe FTC since September2012. Priorto starting atthe FTC,lwasthe
    A ssistantlnspectorGeneralforA uditsatthe N ationalLaborRelationsBoard form ore than 12
    years.
             Atthe FTC,lprovide forensic accounting assistance to trialattorneysand investigators. l
    am a Certified Public Accountantw ith the State ofM aryland and hold a BachelorofScience
    degree in Accounting from the University ofM aryland.
       3. The follow ing facts areknown to m e personally and,ifcalled asa witness,lcould and
    would testify to the m atterssetforth in the follow ing paragraphs.


                                              Background
       4. ln m y capacit'y asa forensic accountantatthe FTC,lwasassigned to work on the Digital
    lncom e System ,lnc.m atter. In connection therewith,Ireview ed recordsofthe corporate bank
    accountsthatIunderstand w ereproduced in responseto Civillnvestigative Dem ands issued by
    theFTC (ttAccountsofInterest'').Therecords,which covered theperiodfrom January2018
    through M arch 2020,included bank statem ents,wire transfers,checks,depositslips,ACH
    transactions,and withdrawals. A listing ofthe six Accountsoflnterest,including the account
    holder'snam e,financialinstitution,accountnum ber,tim e periodscovered by the records
    produced,and accountbalancesasofthe laststatem entreview ed isincluded asAttachm entA .
    lreview ed and prepared sum m ariesofthese A ccountsoflnterestasdetailed below .
       5. To conductthisreview ,Iused,where appropriate,the Comprehensive Financial
    InvestigationsSolution (tkCFlS''),afinancialinvestigation toolfrom Actionablelntelligence
    Technologies,lncorporated. M y understanding isthatCFIS isutilized,inter 4#/J,by the lnternal
                                                                                      PX 2,pg.1
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    Revenue Service,the FederalBureau oflnvestigation,the O rganized Crim e Drug Enforcem ent
    Task Force,anum berofU.S.Attorney'soffices,and the United States SecretService. A m ong
    otherthings,CFIS usesproprietary technology to convertpaperand/orelectronic account
    records from financialinstitutionsinto an investigativedatabase thatcan be searched,analyzed,
    and used to issue avariety ofreportsthatcan be exported into M icrosoftExcelspreadsheets.
       6. The firststep in using CFIS isto load the bank statem ents. A fterthe statem entsare
    loaded,CFIS im portsand processesthe bank statem entsusing lntelligentDocum entAnalyzers
    thatrely on proprietary algorithm sand OpticalCharacterRecognition technology to create a
    searchable database. lntelligentDocum entAnalyzersaredocum entfolnnatreaders associated
    w ith a particularfinancialinstitution and type ofstatem ent. Aftera bank statem enthas been
    indexed and processed,the CFIS databaserecord forthatstatem entm ustbereconciled w ith the
    originalversion ofthe statementobtained intheproceeding(i.e.,thestatementproduced by a
    bank)to ensureaccuracy.
       7. In the instantm atter,Iused CFIS to generatea table containing the transactions forthe
    six Accountsoflnterest. lthen exported the table into M icrosoftExcel. Ialso reconciled the
    bank statem entdata im ported into Excelwith the originalversion ofthe statem entto ensure
    accuracy. ThisExceltable retlected transactions from January 2018 through M arch 2020. l
    usedExceltosorttheaccounttransactionsbytransactiontypeand/orremarks(whichprovide
    somedetailson thetransaction).
        8. lreview ed bank w iresalong w ith checkspaid from and depositsm ade into a11ofthe
    AccountsofInterestand m anually added details,such asthe payee orsource ofm oney,to the
    Excelspreadsheet.


                                            (irossIteceipts

       9. Attorneysw orking on thism atterasked m e to identify paym entsto D igitallncom e
    System ,Inc.from consum ers. Based on theirinvestigation,these attorneysinstructed me that
    consum erpaym entsshould include any paym entsto Digitallncom e System ,lnc.in the
    following amounts- ssoo,$1,500,$2,500,$6,000,or$l2,500- which they instructedmeare
                                                                              PX 2,pg.2
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    the am ountsthatconsum erspaid to D igitallncom e System ,Inc.,aspartoftheirm em bership
    fees.l By m y calculation, Digitallncome System,lnc.received approximately $1,133,000.00 in

    consum erpaym ents.


            Paym ents Between D igitalIncom e System and the O ther Foley Com panies

       10.Attorneysworking on thism atlerasked m e to identify transactionsbetw een D igital
    lncom e System ,lnc.and the ûûotherFoley Com panies,''which they identified asBBL M obile,
    lnc.,Biz Sites and G uideslnc.,Legacy M arketing System s,lnc.,and Online ProfitN etw ork,lnc.
       11.By my calculation,DigitalIncomeSystem lnc.made99paymentstotaling $960,860.00
    to theO therFoley Com panies. These transactionsoccurred betw een April2019 and M arch
    2020. The below table is a sum m ary ofthese paym ents. Detailsofthese paym entsare in the
    referenced attachm ents.

                    Payments from DigitalIncome System ,Inc.to OtherFoley Com panies

                   OtherFole Com an      Transactions   Total       Attachm ent
             O nline Profi
                         tNetw ork,Inc.            60 706,620.00 Attachm entB
             BBL M obile,Inc.                      38 249,240.00 Attachm entC
             Le ac Marketin S stems,Inc.            1   5,000.00 AttachmentD
             Biz Sitesand G uides,Inc.              0       0.00
                Total                              99 960,860.00


       l2.By my calculation,theOtherFoley Companiesmade six paymentstotaling $26,527.10 to
    Digitallncome System ,lnc. Thesetransactionsoccurred between M ay 2019 and February 2020.
    The below table isa sum m ary ofthese paym ents. D etailsofthese paymentsare in the referenced
    attachm ents.




    1The attorneysinstructed m e that, becausethe m axim um value ofa single m oney order is
    generally $1,000,lshouldalso includeasconsumerpaymentsany money ordersdraftedbythe
    sameperson on thesamedatethat,combined,equal$1,500,$2,500,$6,000,or$12,500.
                                                                             PX 2,pg.3
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                  Paym ents from OtherFoley Companies to DigitalIncome System ,Inc-

                   OtherFole Com an         Transactions        Total      Attachment
              Bi
               z Sitesand Guides,Inc.                  4       15,527.10 AttachmentE
              Le ac M arketin S stem s,Inc.            2       11,000.00 AttachmentF
              BBL M obile,Inc.                         0            0.00
              Online Profi
                         tNetwork,Inc.                 0            0.00
                Total                                  6       26,527.10


              Paym ents Between D igitalIncom e System ,lnc./O therFoley C om panies
                                    and lndividualDefendants
       13.Atlorneysworkingonthismatterasked meto identify paymentsbetween (1)Digital
    lncomeSystem lnc.andtheOtherFoleyCompaniesand(2)DerekJonesFoley,W illiam Foley,
    JenniferHedrick,Kaitlyn Scott,and ChristopherBrandonFrye(CilndividualDefendants').The
    table below summarizesthenetpayments(paymentsto lesspaymentsfrom)from Digitallncome
    System lnc.and the OtherFoley Com paniesto the lndividualDefendants. These paym ents are
    described in paragraphs 14 through l9 and detailed in the referenced atlachm ents.


                NetPaym ents from DigitalIncome System,Inc./OtherFoley Companies
                                       to IndividualDefendants

                                               DigitalIncom e           OtherFoley
                   IndividualDefendant            S stem                Com anies
              DerekJones Fole                              141.00            358,053.89
              W illiam Fole                                  0.00             188,000.00
              Jenni  ferHedrick                          2,500.00                 500,00
              Kai tl nScott                              1,500.00                   0.00
              Christo herBrandon F e                       500.00                   0.00


       l4.By my calculation,Digitallncome System,lnc.madetwopaymentstotaling $141to
    Derek JonesFoley. Both paym entsw ere dated M arch 4,2020. ldid notidentify any paym ents
    from D erek JonesFoley to Digitallncom e System ,lnc.
       l5.By my calculation,theOtherFoley Companiesmade 193 paymentstotaling$450,388.91
    to Derek JonesFoley. Forthese transactions,the bank statem entsaid,ûtonline Transferto Foley
    D ...'' A schedule detailing these transactionsis atAttachm entG . lidentified 74 paym ents
    totaling $66,154.37 from Derek JonesFoley to theOtherFoley Companies. Forthese
    transactions,the bank statem entsaid either,ûtonline Transferfrom Foley D ''ortkM oney Transfer
                                                                                         PX 2,pg.4
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    authorized by Foley D erek.'' A schedule detailing these transactionsisatA ttachm entH . Ialso
    identified creditsinto the OtherFoley A ccountsthatthe bank statem entsidentified asiiv enm o
    CashoutDerek Jones.''Therewere23such transactionstotaling $26,180.65.A schedule
    detailingthesetransactionsisatAttachment1. Thisresultsin netpaymentsof$358,053.89to
    Derek Foley from the OtherFoley Com panies.
       l6.ldid notidentify any paym ents between W illiam Foley and D igitallncom e System ,Inc.
    By my calculation,theOtherFoleyCompaniesmade27paymentstotaling $188,000.00 to
    W illiam Foley.A scheduledetailing these transactions isatAttachm entJ. ldid notidentify
    any paym entsfrom W illiam Foley to the Other Foley Com panies.
        l7.lidentified threepaymentstotaling $2,500.00from DigitallncomeSystem ,lnc.and one
    paym entfor$500.00 from BBL M obile,lnc.to JenniferHedrick.Ialso identifiedonepayment
    for$1,000.00to Digitallncome System,lnc.from JenniferHedrick.A scheduledetailingthese
    fivetransactions isatA ttachm entK . ldid notidentify any paym entsfrom JenniferHedrick to
    the Other Foley Com panies.
       l8.Iidentified one transaction between Digitallncom e System ,lnc.and Christopher
    Brandon Frye.Thiswasapaymentfrom DigitallncomeSystem,lnc.for$1,500.00,dated
    August21,2019. Idid notidentify any paym entsbetw een ChristopherBrandon Frye and any of
    the Other Foley Com panies.
        19.lidentified one transaction between D igitallncom e System ,lnc.and Kaitlyn Scott. This
    wasapaymentfrom Digitallncome System,Inc.for$500.00dated August5,2019.ldid not
    identify any paym entsbetw een Kaitlyn Scottand any oftheOtherFoley Com panies.


                                             W ithdraw als
       20.Attorneysworking on thism atlerasked m e to identify withdrawalsfrom D igitalIncom e
    System ,lnc.'saccountsand the OtherFoley Com panies'accounts.
       21.lidentified one w ithdrawalfrom a Digitallncom e System ,Inc.account.ltw as an A TM
    withdrawalfor$203.50 datedNovember2l,2019.


                                                                                      PX 2,pg.5
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       22.The withdrawalsfrom the(XherFoley Companiestotaled $44.090.01. These
    withdrawalsconsistedof83 ATM withdrawals.totaling $20-240.01,threebranch/ofxce
    withdrawalstotaling $4.400.forwhichdocumentation wasnotavailabletbrmyreview.and four
    branch/oftsce withdrawalstotaling $19.450.00 with DerekJonesFoley onthewithdrawalslip.
    schedule detailing these transactions isatA ttachm entL.




     Ideclareunderpenaltyofperjurythatthefbrgoingistrueandcorrect.


        ExecutedtmNovemberY .2020.
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                                        Accounts oflnterest

                                                                   First      Last     Balance at
                                                                Statement Statement       Last
                                                                Reviewed Reviewed      Statement
  Item                     Name                 Bank   Account Endin Date Endin Date   Reviewed
         1BBLMobile,Inc.                 BB&T           #8312     1/31/18   3/31/20      27,734.56

      2 BizSitesandGuides,Inc.           BB&T          #3791     1/31/18   3/31/20       34,819.78

      3 DigitalIncome System,Inc.        W ellsFargo   #5873     3/31/19   3/31/20       14,934.24

      4 DigitalIncome System,Inc.        WellsFargo    #1589     3/31/19   3/31/20       15,024.84

      5 Legacy Marketing Systems,Inc.    BB&T          #1582     1/31/18   3/31/20        9,608.24

     6 Onli
          neProfitNetwork,Inc.           W ell
                                             s Fargo   #2280     1/31/18   3/31/20        2,215.16




                                                                                           PX 2,pg.7
                                                                                                     AttachmentA
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 Paym entsfrom DigitalIncom e System ,Inc.to Online ProfitNetwork,Inc.




   Item     NameïBankïAtcount       Posted Date Reference#           Amount           Description
       1 DigitalIncomeSystem,           4/5/2019 b062Rjw3H             2,000.00 lnternet/on-Line
         Inc.(W elIsFargo Bank                                                  TransferDebi t
         NA #5873)
       2 Digi talIncomeSystem,         4/11/2019 1003                     3,700.00 CheckPaid
          Inc.(W eIIsFargo Bank
          NA #5873)
       3 Digi talIncomeSystem,         4/16/2019 1006                     6,000.00 CheckPaid
         Inc.(W eIIsFargo Bank
         NA#5873)
       4 DigitalIncomeSystem,          4/24/2019 1008                     5,400.00 CheckPaid
         Inc.(WeIIsFargoBank
         NA#5873)
       5 DigitalIncomeSystem,          4/26/2019 1011                     9,400.00 CheckPaid
         Inc.(W eIIsFargo Bank
         NA #5873)
       6 DigitalIncomeSystem,           5/2/2019 1013                    18,000.00 CheckPaid
         Inc.(WeIIsFargoBank
         NA #5873)
       7 DigitalIncomeSystem,          5/13/2019 1017                     9,800.00 CheckPaid
         Inc.(W eIIsFargoBank
         NA #5873)
       8 Di gitalIncomeSystem,         5/16/2019 Ib068Dkdhf              18,200.00 Internet/on-l
                                                                                               -ine
         Inc.(WeII  sFargoBank                                                     TransferDebit
         NA #5873)
       9 DigitalIncomeSystem,          5/20/2019 Ib068RIkl2               8,500.00 Internet/on-l
                                                                                               -ine
         Inc.(WeIIsFargoBank                                                       TransferDebit
         NA #5873)
      10 DigitalIncomeSystem,          5/22/2019 lb0697tjc6               8,550.00 Internet/on-l
                                                                                               -ine
         Inc.(WeIIsFargoBank                                                       TransferDebit
         NA #5873)
      11 DigitalIncomeSystem,          5/29/2019 Ib069Zx8Qz              20,600.00 Internet/on-l
                                                                                               -ine
         Inc.(WeIIsFargoBank                                                       TransferDebit
         NA #5873)
      12 Digi talIncomeSystem,         5/30/2019 1022                      500.00 CheckPaid
         lnc.(W eIIsFargoBank
         NA#5873)

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                                                                                               Attachm entB
                                                                                                      1of5
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 Paym entsfrom Digitallncome System ,lnc.to Online ProfitNetwork,Inc.




   Item      NameïBankïAccount     Posted Date Reference#           Amount          Description
       13 Digi talIncomeSystem,        6/7/2019 1024                 15,300.00 CheckPaid
           Inc.(W eIlsFargoBank
           NA #5873)
       14 Digi talIncomeSystem,       6/14/2019 1025                    14,800.00 CheckPaid
          Inc.(W eIIsFargo Bank
          NA#5873)
       15 Digi talIncomeSystem,       6/21/2019 tb06Fhy738              11,070.00 lnternet/on-Line
           Inc.(W eIIsFargoBank                                                   TransferDebit
           NA #5873)
       16 Digi talIncomeSystem,         7/5/2019 Ib06Hf8SIp             28,000.00 Internet/on-Line
          lnc.(W eIIsFargo Bank                                                   TransferDebit
          NA#5873)
       17 DigitalIncomeSystem,        7/12/2019 f5lbo6ljgc6R            30,000.00 lnternet/on-Line
          Inc.(W eIIsFargo Bank                                                  TransferDebi  t
          NA#5873)
       18 DigitalIncomeSystem,        7/18/2019 1032                     1,950.00 CheckPaid
          Inc.(WeII  sFargoBank
          NA #5873)
       19 DigitallncomeSystem,        7/18/2019 lbo6Kbyjzc              16,300.00 Internet/on-Line
          Inc.(WeIIsFargoBank                                                     TransferDebi t
          NA #5873)
       20 DigitalIncomeSystem,        7/23/2019 Ibo6Kxnvsd              21,000,00 Internet/on-Line
          Inc.(W eIIsFargoBank                                                    TransferDebit
          NA #5873)
       21 DigitalIncomeSystem,        7/26/2019 Ib06Lct8Yp              14,750.00 Internet/on-Line
          Inc.(WeIIsFargoBank                                                     TransferDebit
          NA #5873)
       22 DigitalIncomeSystem,        7/31/2019 Ib06M29Qsy              17,500.00 Internet/on-l
                                                                                              -ine
          Inc.(W eIIsFargoBank                                                    TransferDebit
          NA#1589)
       23 DigitallncomeSystem,        7/31/2019 Ib06M2BkI2               9,100.00 Internet/on-Line
          Inc.(W eIIsFargoBank                                                    TransferDebit
          NA#5873)
       24 DigitalIncomeSystem,        7/31/2019 Ib06M29Gvy               7,500.00 Internet/on-l-ine
          Inc.(W eIIsFargo Bank                                                   TransferDebit
          NA#5873)

                                                                                        PX 2,pg.9
                                                                                              Attachm entB
                                                                                                     2of5
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 Paym entsfrom DigitalIncom eSystem,Inc.to Online ProfitNetwork,lnc.




   Item      NameïBankïActount     Posted Date Reference#          Amount           Description
       25 DigitalIncomeSystem,        7/31/2019 Ib06M2Ch7N           5,000.00 Internet/on-Line
          Inc.(W eIIsFargo Bank                                               TransferDebi t
          NA#5873)
       26 DigitalIncomeSystem,         8/8/2019 Ib06Nf9Gdp             31,600.00 Internet/on-l-ine
          Inc.(W eIIsFargo Bank                                                  TransferDebi t
          NA #5873)
       27 DigitallncomeSystem,        8/19/2019 Ib06Pys3Rt             34,200.00 Internet/on-l
                                                                                             -ine
          Inc.(WeIIsFargo Bank                                                   TransferDebit
          NA #5873)
       28 DigitalIncomeSystem,        8/29/2019 Ibo6Rbrjjj             25,400.00 Internet/on-Line
          Inc.(WeII sFargoBank                                                   TransferDebit
          NA #5873)
       29 DigitalIncomeSystem,         9/6/2019 Ib06Spdft4             25,600.00 Internet/on-l
                                                                                             -ine
          Inc.(WeII sFargoBank                                                   TransferDebit
          NA #5873)
       30 DigitallncomeSystem,        9/13/2019 Ib08Tp8XfI             17,000.00 Internet/on-l
                                                                                             -ine
          Inc.(WeII sFargoBank                                                   TransferDebit
          NA #1589)
       31 DigitalIncomeSystem,        9/13/2019 Ib08Tp7Kwp             19,300.00 Internet/on-l
                                                                                             -ine
          lnc.(WeIIsFargoBank                                                    TransferDebit
          NA #5873)
       32 DigitalIncomeSystem,        9/13/2019 SIb06Tp92Yn            10,000.00 Internet/on-l
                                                                                             -ine
          Inc.(WeIIsFargoBank                                                    TransferDebit
          NA #5873)
       33 DigitallncomeSystem,        9/23/2019 Ib06Vrscs2             25,000.00 Internet/on-Line
          Inc.(WeIlsFargoBank                                                    TransferDebit
          NA #5873)
       34 DigitalIncomeSystem,        9/23/2019 Ib08VT9ZI5              2,300.00 Internet/on-Line
          Inc.(W eIIsFargoBank                                                   TransferDebit
          NA #5873)
       35 DigitalIncomeSystem,        9/30/2019 Ib06W r7Ttx            20,300.00 Internet/on-Line
          Inc.(W eIIsFargoBank                                                   TransferDebit
          NA #5873)
       36 DigitalIncomeSystem,        10/7/2019 Ib06Xy44D3             19,200.00 Internet/on-l
                                                                                             -ine
          Inc.(W eIIsFargoBank                                                   TransferDebit
          NA#5873)

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 Paymentsfrom DigitalIntome System,Inc.to Online Profi
                                                     tNetwork,Inc.




   Item     NameïBankïAttount     PostedDate Reference#          Amount           Description
       37 DigitalIncomeSystem,      10/11/2019 1b06Yt4369         13,600.00 Internet/on-Line
          Inc.(WeIIsFargoBank                                               TransferDebit
          NA #5873)
       38 DigitalIncomeSystem,      10/21/2019 Ib07227Drq            10,000.00 Internet/on-l
                                                                                           -ine
          Inc.(WeIIsFargoBank                                                  TransferDebit
          NA #5873)
       39 DigitalIncomeSystem,      10/22/2019 ibo7zFdtng             8,800.00 Internet/on-l
                                                                                           -ine
          Inc.(W eIIsFargo Bank                                                TransferDebit
          NA #5873)
       40 DigitallncomeSystem,      10/25/2019 b072Trkjy             10,200.00 Internet/on-t-ine
          Inc.(W eIIsFargo Bank                                                TransferDebit
          NA #5873)
       41 DigitallncomeSystem,       11/4/2019 Ib074Ch2Km            11,100.00 Internet/on-l
                                                                                           -ine
          Inc.(WeII sFargoBank                                                 TransferDebit
          NA #5873)
       42 DigitalIncomeSystem,       11/8/2019 Ib074Zqi5Y            15,600.00 Internet/on-l-ine
          Inc.(WeII sFargoBank                                                 TransferDebit
          NA #5873)
       43 DigitalIncomeSystem,      11/19/2019 Ib076K9Vxx            11,400.00 Internet/on-Line
          Inc.(WeII sFargoBank                                                 TransferDebit
          NA #5873)
       44 DigitalIncomeSystem,       12/2/2019 Ib07879Qdz            11,100.00 Internet/on-Line
          Inc.(WeII sFargoBank                                                 TransferDebit
          NA #5873)
       45 DigitallncomeSystem,      12/10/2019 ib079Smz87             3,600.00 Internet/on-Line
          Inc.(WeIIsFargo Bank                                                 TransferDebit
          NA#5873)
       46 DigitalIncomeSystem,      12/16/2019 Ib07Bn7V7Q             2,800.00 Internet/on-t-ine
          Inc.(W eIIsFargo Bank                                               TransferDebi  t
          NA#5873)
       47 DigitalIncomeSystem,      12/23/2019 Ib07Cvfz3H             6,800.00 Internet/on-Line
          Inc.(W eIIsFargo Bank                                                TransferDebit
          NA #5873)
       48 DigitalIncomeSystem,       1/13/2020 Ib07Gpt5T3             3,400.00 Internet/on-Line
          Inc.(W eIlsFargo Bank                                                TransferDebit
          NA#5873)
                                                                                   PX 2,pg.11
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 Paym entsfrom DigitalIncome System ,Inc.to Online ProfitNetwork,lnc.




   Item      NameïBankïAccount     Posted Date Reference#           Amount           Description
       49 Digi talIncomeSystem,       1/21/2020 Ib07Ht4Q3M            7,600.00 Internet/on-Line
          Inc.(W elIsFargo Bank                                                TransferDebit
          NA #5873)
       50 Digi talIncomeSystem,           2/3/2020 ib07L8Snfm            3,400.00 lnternet/on-Line
           Inc.(W eIIsFargoBank                                                   TransferDebit
           NA #5873)
       51 DigitalIncomeSystem,        2/10/2020 ib07M36Y3J              12,300.00 Internet/on-l
                                                                                              -ine
          lnc.(W e1lsFargo Bank                                                  TransferDebi t
          NA#5873)
       52 Digi tallncomeSystem,       2/18/2020 Ib07Njf774               2,600.00 lnternet/on-tine
          Inc.(W eIIsFargo Bank                                                   TransferDebit
          NA#5873)
       53 Digi talIncomeSystem,       2/24/2020 1b07P87455               3,500.00 Internet/on-l
                                                                                              -ine
          Inc.(WeIIsFargoBank                                                    TransferDebi t
          NA #5873)
       54 Di gitalIncomeSystem,       2/26/2020 Ib07Pp8M8V              4,300.00 Internet/on-Line
          lnc.(WelIsFargoBank                                                   TransferDebit
          NA #5873)
       55 DigitallncomeSystem,        2/28/2020 Ib07Q67Pg                8,700.00 Internet/on-Line
          Inc.(WeII  sFargoBank                                                   TransferDebi t
          NA #5873)
       56 DigitalIncomeSystem,            3/4/2020 Ib07R42Cvv            6,300.00 Internet/on-Line
          Inc.(W eIIsFargoBank                                                    TransferDebit
          NA #5873)
       57 DigitalIncomeSystem,            3/6/2020 Ib07Rk9M5S           4,500.00 Internet/on-Line
          Inc.(WeIIsFargoBank                                                    TransferDebi t
          NA #5873)
       58 Digi talIncomeSystem,           3/9/2020 Ibo7Rxfwcw           4,200.00 Internet/on-Line
          Inc.(W eIIsFargo Bank                                                  TransferDebit
          NA#5873)
       59 DigitallncomeSystem,        3/16/2020 lb07Svyq7H               5,200.00 lnternet/on-Line
          Inc.(WeIIsFargoBank                                                     TransferDebit
          NA #5873)
       60 DigitalIncomeSystem,        3/23/2020 lb07Tw9Kqp               2,800.00 Internet/on-l
                                                                                              -ine
          Inc.(W eIIsFargo Bank                                                  TransferDebit
          NA#5873)
                                  Total                             706,620.00
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 Paym entsfrom DigitalIncom e System ,Inc.to BBLM obile,lnc.




   ltem     NameïBankïAecount       PostedDate Reference#      Amount          Description
       1 Di gitalIncomeSystem,         4/12/2019 1002            2,000.00 CheckPaid
          Inc.(WeIIsFargoBank
          NA #5873)
       2 DigitalIncomeSystem,          4/12/2019 1005            1,500.00 CheckPaid
          Inc.(WelIsFargoBank
          NA #5873)
       3 Digi talIncomeSystem,         4/16/2019 1007            3,900.00 CheckPaid
          Inc.(W eIIsFargoBank
          NA #5873)
       4 Digi talIncomeSystem,         4/24/2019 1009            2,600.00 CheckPaid
          Inc.(WeIIsFargoBank
          NA #5873)
       5 Digi talIncomeSystem,         4/26/2019 1010            3,100.00 CheckPaid
         Inc.(W eI1sFargo Bank
         NA#5873)
       6 DigitallncomeSystem,           5/3/2019 1015            4,400.00 CheckPaid
         Inc.(W eIIsFargo Bank
         NA#5873)
       7 DigitalIncomeSystem,           5/6/2019 1014            4,000.00 CheckPaid
         Inc.(WeIIsFargoBank
         NA #5873)
       8 DigitalIncomeSystem,          5/10/2019 1016            3,300.00 CheckPaid
         lnc.(WeII  sFargo Bank
         NA #5873)
       9 DigitalIncomeSystem,          5/16/2019 1018            7,500.00 CheckPaid
         Inc.(W eIIsFargoBank
         NA #5873)
      10 DigitalIncomeSystem,          5/22/2019 1019            2,900.00 CheckPaid
         lnc.(W ellsFargoBank
         NA #5873)
      11 DigitalIncomeSystem,          5/28/2019 1020            2,550.00 CheckPaid
         Inc.(W eIIsFargoBank
         NA#5873)
      12 DigitalIncomeSystem,           6/6/2019 1023            5,700.00 CheckPaid
         Inc.(W eIIsFargo Bank
         NA #5873)

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 Paym entsfrom DigitalIntome System ,Inc.to BBLM obile,Inc.




   Item      NameïBankïAttount     Posted Date Reference#     Amount          Description
       13 Digi talIncomeSystem,       6/14/2019 1026            3,950.00 CheckPaid
           Inc.(W elIsFargo Bank
           NA #5873)
       14 DigitalIncomeSystem,         7/5/2019 1029            5,500.00 CheckPaid
           Inc.(W eIIsFargo Bank
           NA#5873)
       15 DigitalIncomeSystem,        7/15/2019 1030            9,500.00 CheckPaid
           Inc.(WeIlsFargoBank
           NA #5873)
       16 DigitalIncomeSystem,        7/18/2019 1031            4,000.00 CheckPaid
           Inc.(WeIIsFargoBank
           NA #5873)
       17 DigitalIncomeSystem,        7/25/2019 1033            3,000.00 CheckPaid
           lnc.(W el1sFargoBank
           NA #5873)
       18 DigitalIncomeSystem,        7/29/2019 1035            4,000.00 CheckPaid
          Inc.(W eIIsFargo Bank
          NA#5873)
       19 DigitalIncomeSystem,        7/31/2019 1038           30,000.00 CheckPaid
          Inc.(W eIIsFargo Bank
          NA #5873)
       20 DigitalIncomeSystem,         8/1/2019 1039            5,250.00 CheckPaid
          Inc.(WeIIsFargo Bank
          NA#5873)
       21 DigitalIncomeSystem,         8/9/2019 1040           12,500.00 CheckPaid
          Inc.(WeII  sFargoBank
          NA #5873)
       22 DigitalIncomeSystem,        8/13/2019 1041            6,000.00 CheckPaid
          Inc.(W eIIsFargo Bank
          NA #5873)
       23 DigitalIncomeSystem,        8/20/2019 1043           12,500.00 CheckPaid
          Inc.(WeIIsFargoBank
          NA #5873)
       24 DigitalIncomeSystem,         9/3/2019 1045            9,000.00 CheckPaid
          Inc.(W eIIsFargoBank
          NA #5873)

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 Paym entsfrom DigitalIncom e System ,lnc.to BBLM obile,Inc.




   Item     NameïBankïActount       PostedDate Referente#      Amount          Description
       25 DigitalIncomeSystem,          9/6/2019 1047           10,440.00 CheckPaid
          Inc.(W eIIsFargo Bank
          NA #5873)
      26 DigitalIncomeSystem,          9/16/2019 1048           31,600.00 CheckPaid
          lnc.(WellsFargoBank
          NA #5873)
      27 Digi talIncomeSystem,         9/23/2019 1051            6,170.00 CheckPaid
          Inc.(WeIIsFargoBank
          NA #5873)
      28 DigitalIncomeSystem,          10/1/2019 1056           21,130.00 CheckPaid
          Inc.(WeIIsFargoBank
         NA#5873)
      29 DigitallncomeSystem,         10/10/2019 1058            6,250.00 CheckPaid
         lnc.(W ellsFargoBank
         NA#5873)
      30 DigitalIncomeSystem,         10/15/2019 1059            7,400.00 CheckPaid
         Inc.(WeII sFargoBank
         NA #5873)
      31 DigitalIncomeSystem,          11/7/2019 1066            4,500.00 CheckPaid
         Inc.(W eIIsFargo Bank
         NA #5873)
      32 DigitalIncomeSystem,          12/4/2019 1070            4,000.00 CheckPaid
         lnc.(W el1sFargoBank
         NA #5873)
      33 DigitalIncomeSystem,         12/17/2019 1071            1,000.00 CheckPaid
         Inc.(W eIIsFargoBank
         NA #5873)
      34 DigitalIncomeSystem,           1/7/2020 1074            1,800.00 CheckPaid
         Inc.(WeIIsFargoBank
         NA#5873)
      35 DigitallncomeSystem,          1/16/2020 1075              500.00 CheckPaid
         lnc.(W ellsFargoBank
         NA #5873)
      36 DigitalIncomeSystem,          1/27/2020 1078              900.00 CheckPaid
         Inc.(W eIIsFargo Bank
         NA #5873)

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 Paymentsfrom Digitallntom eSystem,lnt.to BBLM obile,Inc.




   Item     NameïBankïAccount      PostedDate Referente#    Amount          Description
       37 DigitallncomeSystem,        2/10/2020 1081          1,600.00 CheckPaid
          Inc.(W eIIsFargo Bank
          NA #5873)
       38 DigitalIncomeSystem,            3/9/2020 1085       3,300.00 CheckPaid
          Inc.(WeIIsFargoBank
          NA #5873)
                                  Total                     249,240.00




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 Paym entsfrom DigitalIncom e System ,Inc.to Legacy M arketing Systems, lnc.




   Item       NameïBankïAccount      Posted Date Reference#            Amount          Description
          1 DigitallncomeSystem,        7/29/2019 1034                   5,000.00 CheckPaid
            Inc.(WeIIsFargoBank
            NA #5873)




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 Paym entsfrom BizSitesand Guides,lnc.to Digitallncom e System ,Inc.




   Item       NameïBankïAttount      Posted Date Referente#            Amount           Description
          1 DigitalIncomeSystem,        6/14/2019 310140854616           3,150.00 Internet/on-l
                                                                                              -ine
            lnc.(W eIIsFargo Bank                                                TransferCredit
            NA#1589)
          2 DigitalIncomeSystem,            7/5/2019                      4,352.10 Deposit
            Inc.(W eIIsFargo Bank
            NA #5873)
          3 DigitalIncomeSystem,        7/18/2019 408180452318            7,550.00 Internet/on-l
                                                                                               -ine
            Inc.(WeIIsFargoBank                                                    TransferCredit
            NA #1589)
          4 DigitalIncomeSystem,        2/21/2020                          475.00 Deposi
                                                                                       t
            Inc.(WeII sFargoBank
            NA #5873)
                                    Total                               15,527.10




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 Paym entsfrom Legacy M arketing Systems,Inc.to DigitalIncom eSystem,lnt.




   Item       NameïBankïAccount     Posted Date Reference#          Amount            Description
          1 DigitalIncomeSystem,       5/30/2019                      7,000.00 ElectronicFunds
            Inc.(W eIlsFargo Bank                                              Transfer(EFT)Credit
            NA#1589)
          2 DigitallncomeSystem,        6/5/2019                       4,000.00 ElectronicFunds
            Inc.(W eIIsFargo Bank                                               Transfer(EFT)Credit
            NA#1589)
                                                   Total              11,000.00




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 Paym entsfrom OtherFoley Com paniesto Derek Foley




   Item    NameïBankïAccount Posted Date Reference#     Amount          Destription
       1 Online ProfitNetworkInc  2/5/2018 Ibo47Yfhby      200.00 Internet/on-t-ine
         (W elIsFargo BankNA                                      TransferDebit
         #2280)
       2 OnlineProfitNetworkInc   2/6/2018 Ib0483BsIh       100.00 Internet/on-Line
         (W eIIsFargo BankNA                                       TransferDebit
         #2280)
       3 OnlineProfitNetworkInc  2/20/2018 1b04972V25       100.00 Internet/on-l-ine
         (W eIIsFargo BankNA                                       TransferDebit
         #2280)
       4 OnlineProfitNetworkInc  2/20/2018 lbQ498Qqns       100.00 lnternet/on-l
                                                                               -ine
         (W eIIsFargo BankNA                                       TransferDebit
         #2280)
       5 OnlineProfitNetworkInc  2/21/2018 Ib049Kdrnr        42.88 Internet/on-Line
         (WeIIsFargo BankNA                                        TransferDebit
         #2280)
       6 OnlineProfitNetworkInc  2/21/2018 Ib049Hfxjf     1,220.00 Internet/on-Line
         (WeIIsFargoBankNA                                         TransferDebit
         #2280)
       7 Online ProfitNetworkInc 2/23/2018 Ibo4gornxp       300.00 Internet/on-Line
         (WeIIsFargoBankNA                                         TransferDebit
         #2280)
       8 Online ProfitNetworkInc  3/2/2018 Ib04Bmhb8M         4.34 Internet/on-l
                                                                               -ine
         (W eIIsFargoBankNA                                        TransferDebit
         #2280)
       9 Online ProfitNetworkInc  3/5/2018 IbO4Bw66Lp        23.09 Internet/on-Line
         (W eIIsFargoBankNA                                        TransferDebit
         #2280)
      10 Online ProfitNetworkInc  3/5/2018 Ib04Bw65Sb       420.18 Internet/on-Line
         (WeIIsFargoBankNA                                         TransferDebit
         #2280)
      11Online ProfitNetworkInc  3/15/2018 Ib04Cwg2xx        50.00 Internet/on-Line
         (W elIsFargoBankNA                                        TransferDebit
         #2280)
      12 OnlineProfitNetworkInc  3/19/2018 ib04D96Wgr     1,250.00 Internet/on-Line
         (W eIIsFargo BankNA                                       TransferDebit
         #2280)

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 Paym entsfrom OtherFoley Com paniesto Derek Foley




   Item      NameàBankïAccount Posted Date Reference#     Amount          Destription
       13 Online Profi tNetworkInc 3/21/2018 b04Dhj5Q8       350.00 Internet/on-Line
           (W eIIsFargoBankNA                                       TransferDebit
           #2280)
       14 OnlineProfitNetworkInc   3/28/2018 1bQ4F4Lxcf       150.00 Internet/on-Line
           (W eIIsFargo BankNA                                       TransferDebit
           #2280)
       15 OnlineProfitNetworkInc   3/30/2018 ib04FbIy4Z     1,500.00 Internet/on-l
                                                                                 -ine
           (WeII sFargo BankNA                                       TransferDebit
          #2280)
       16 OnlineProfitNetworklnc    4/4/2018 Ib04Fx7JIf       110.00 Internet/on-Line
           (WeIIsFargo BankNA                                        TransferDebit
          #2280)
       17 Online ProfitNetworkInc  4/10/2018 Ibo4Gjtnmz       700.00 Internet/on-l
                                                                                 -ine
           (W ellsFargoBankNA                                       TransferDebit
          #2280)
       18 OnlineProfitNetworkInc   4/11/2018 Ibo4Gpbqyf       500.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
       19 OnlineProfitNetwork1nc   4/13/2018tbo4Gwftrl        850.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
       20 OnlineProfitNetworkInc    5/1/2018 IbO4Jy7Bnb        58.68 Internet/on-l
                                                                                 -ine
          (WelIsFargo BankNA                                         TransferDebit
          #2280)
       21 OnlineProfitNetworkInc    5/2/2018 IbO4K4V43Q       100.00 Internet/on-l
                                                                                 -ine
          (WeIIsFargoBankNA                                          TransferDebit
          #2280)
       22 OnlineProfitNetworkInc    5/4/2018 1b04Kj7932       500.00 Internet/on-l
                                                                                 -ine
          (WeII  sFargo BankNA                                       TransferDebit
          #2280)
       23 Online ProfitNetworklnc   5/8/2018 ib04Ktz66F       150.00 Internet/on-Line
          (W eIIsFargo BankNA                                       TransferDebit
          #2280)
       24 Online ProfitNetworkInc  5/15/2018 Ibo4Lphykx        60.00 Internet/on-Line
          (W eIIsFargo BankNA                                       TransferDebit
          #2280)

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 Paym entsfrom OtherFoley Com paniesto Derek Foley




   Item     NameïBankïAccount Posted Date Referente#      Amount          Description
       25 Online ProfitNetworkInc 5/15/2018 Ibo4l-pkwkz       30.00 Internet/on-Line
          (W eIIsFargoBankNA                                       TransferDebit
          #2280)
       26 OnlineProfitNetworkInc  5/17/2018 ib04Lxthg6         20.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
       27 OnlineProfi tNetworkInc 5/21/2018 IbQ4Mbcf3J         29.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
       28 OnlineProfitNetworkInc  5/25/2018 Ib04Mtszb4      1,300.00 Internet/on-Line
          (WeIIsFargo BankNA                                         TransferDebit
          #2280)
       29 OnlineProfitNetworklnc  5/30/2018 lbo4Nbhbdr         60.00 Internet/on-t-ine
          (WeIIsFargo BankNA                                         TransferDebit
          #2280)
       30 OnlineProfitNetworkInc  5/30/2018 Ibo4Nbhff8         12.93 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
       31 OnlineProfitNetworkInc  5/31/2018 Ibo4Njpzpt        250.00 Internet/on-Line
          (W eIIsFargoBankNA                                         TransferDebit
          #2280)
       32 OnlineProfitNetworkInc   6/1/2018 IbQ4Nq9Lkb         55.00 Internet/on-l
                                                                                 -ine
          (W e1IsFargo BankNA                                       TransferDebit
          #2280)
       33 OnlineProfitNetworkInc   6/8/2018 ibO4PIvwb9        550.00 Internet/on-l-ine
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
       34 OnlineProfitNetworkInc  6/25/2018 Ib04Rfht8K        850.00 Internet/on-l-ine
          (W eIIsFargo BankNA                                        TransferDebi t
         #2280)
       35 OnlineProfitNetworkInc  6/28/2018 Ibo4Rxnwdt        150.00 lnternet/on-Line
          (W e11sFargo BankNA                                       TransferDebit
          #2280)
       36 OnlineProfitNetworkInc  7/10/2018 Ib04Thb9S9        400.00 Internet/on-Line
          (WeIIsFargo BankNA                                         TransferDebit
         #2280)
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 Paym entsfrom OtherFoley Com paniesto Derek Foley




   Item      NameïBankïActount Posted Date Reference#     Amount          nescription
        37 OnlineProfitNetworklnc 7/10/2018 lb04Thbbs2       200.00 lnternet/on-tine
           (W eIIsFargoBankNA                                       TransferDebit
           #2280)
       38 OnlineProfitNetworkInc   8/3/2018 Ib04Xmjq5       1,000.00 Internet/on-Line
           (W eIIsFargo BankNA                                       TransferDebit
           #2280)
       39 OnlineProfitNetworkInc   8/8/2018 ib04Y4Xt8W        700.00 Internet/on-Line
           (WeII sFargoBankNA                                        TransferDebit
          #2280)
       40 OnlineProfitNetworkInc   8/8/2018 1b04Y56F44        200.00 Internet/on-Line
           (WeIIsFargo BankNA                                        TransferDebit
          #2280)
       41Online ProfitNetworkInc  8/13/2018 Ib04YI9Qpz        110.00 Internet/on-Line
          (W ellsFargoBankNA                                         TransferDebit
          #2280)
       42 OnlineProfitNetworklnc  8/20/2018 Ib04Z1d4W k       105.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
       43 OnlineProfi tNetworkInc 8/21/2018 ib04Zr3Sns      1,400.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
       44 OnlineProfitNetworkInc  8/27/2018 1b05292Gr7      1,200.00 Internet/on-l
                                                                                 -ine
          (WeIIsFargo BankNA                                         TransferDebit
          #2280)
       45 Online ProfitNetworkInc  9/4/2018 lb053Cvt2Y      1,000.00 Internet/on-Line
          (WeIIsFargoBankNA                                          TransferDebit
          #2280)
       46 OnlineProfitNetworkInc  9/10/2018 ib0544W4Kb        678.00 Internet/on-Line
          (WeIlsFargoBankNA                                          TransferDebit
          #2280)
       47 Online ProfitNetworkInc 9/11/2018 Ib054FL3Jv        190,00 Internet/on-Line
          (WeIIsFargoBankNA                                          TransferDebit
          #2280)
       48 OnlineProfi tNetworkInc 9/11/2018 lbQ54FL3Rg        350.00 Internet/on-Line
          (W eIIsFargo BankNA                                       TransferDebit
          #2280)

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 Paym entsfrom OtherFoley Com paniesto DerekFoley




   Item     NameïBankïAccount Posted Date Reference#       Amount          Description
       49 OnlineProfi tNetworkInc  9/24/2018 ib055Vv6Jy       860.00 Internet/on-Line
          (W ellsFargo BankNA                                       TransferDebit
          #2280)
       50 OnlineProfitNetworkInc   9/24/2018 Ib055Wjk2T        130.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
       51 OnlineProfitNetworkInc   9/28/2018 Ib056Jtjgq        250.00 Internet/on-Line
          (WeIIsFargo BankNA                                          TransferDebit
          #2280)
       52 OnlineProfitNetworkInc   10/1/2018 IbQ56Qwp4Y        300.00 Internet/on-l
                                                                                  -ine
          (WeIIsFargoBankNA                                           TransferDebit
          #2280)
       53 OnlineProfitNetworkInc   10/5/2018 1b057P62681       489.00 Internet/on-l
                                                                                  -ine
          (WeIIsFargoBankNA                                           TransferDebit
          #2280)
       54 OnlineProfitNetworklnc  10/15/2018 lbos8Kwmrq        400.00 lnternet/on-tine
          (W eIIsFargo BankNA                                        TransferDebit
         #2280)
      55 OnlineProfitNetworkInc   10/19/2018 Ib059Dhffx        800.00 Internet/on-tine
          (W eIIsFargo BankNA                                         TransferDebit
          #2280)
      56 OnlineProfitNetworkInc   10/22/2018 Ib059J3Vs3        950.00 Internet/on-l
                                                                                  -ine
          (WeIIsFargo BankNA                                         TransferDebit
         #2280)
      57 Online ProfitNetworkInc  10/22/2018 Ib059Qfj7L        300.00 Internet/on-Line
         (WeIIsFargoBankNA                                            TransferDebit
         #2280)
      58 OnlineProfitNetworkInc   10/23/2018 Ib059Sfzvq       500.00 Internet/on-Line
         (W eIIsFargo BankNA                                        TransferDebit
         #2280)
      59 Online ProfitNetworklnc  10/23/2018 ib059Sfdhy      1,400.00 lnternet/on-Line
         (W eIIsFargo BankNA                                         TransferDebit
         #2280)
      60 OnlineProfitNetworkInc   10/29/2018 ib05B9Tmb6       650.00 Internet/on-l
                                                                                 -ine
         (W eIIsFargo BankNA                                        TransferDebit
         #2280)

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 Paym entsfrom OtherFoley Com paniesto Derek Foley




   Item      NameïBankïAccount Posted Date Reference#      Amount          Description
       61 OnlineProfi tNetworkInc 11/14/2018 IbosDkyfjz       250.00 Internet/on-Line
           (W eIIsFargo BankNA                                       TransferDebit
          #2280)
       62 OnlineProfitNetworkInc  11/26/2018 IbQ5G3Wyiw      1,000.00 Internet/on-l
                                                                                  -ine
           (W eIIsFargo BankNA                                        TransferDebit
           #2280)
       63 OnlineProfitNetworkInc   12/3/2018 Ib05Gz4Lvv        100.00 Internet/on-Line
           (WeII sFargo BankNA                                       TransferDebit
          #2280)
       64 OnlineProfitNetworkInc   12/3/2018 ib05Gz4Kpj        400.00 Internet/on-t-ine
           (WeIIsFargo BankNA                                         TransferDebit
          #2280)
       65 Online ProfitNetworkInc 12/10/2018 Iboslivpzxz       500.00 Internet/on-l
                                                                                  -ine
           (W ellsFargoBankNA                                         TransferDebit
          #2280)
       66 OnlineProfitNetworkInc  12/17/2018 IbQ5Jss5Zr         30.00 lnternet/on-Line
          (W eIIsFargo BankNA                                         TransferDebit
          #2280)
       67 OnlineProfi tNetworkInc 12/26/2018 Ib05L3C3J6        200.00 Internet/on-Line
          (W eIIsFargo BankNA                                         TransferDebit
          #2280)
       68 OnlineProfitNetworkInc    1/9/2019 Ib05Mx8N93        404.31 Internet/on-Line
          (WeIIsFargo BankNA                                         TransferDebi t
          #2280)
       69 OnlineProfitNetworkInc    1/9/2019 Ib05Mysvc6      1,970.00 Internet/on-l-ine
          (WeIIsFargo BankNA                                          TransferDebi t
          #2280)
       70 OnlineProfitNetworkInc    1/9/2019 Ib05Mx8Rzh        299.99 Internet/on-Line
          (WeIIsFargo BankNA                                          TransferDebi t
          #2280)
       71Online ProfitNetworkInc   1/14/2019 IbQ5Nkdf3V        500.00 Internet/on-Line
          (WeIIsFargoBankNA                                           TransferDebit
          #2280)
       72 Online ProfitNetworklnc  1/16/2019 IbosNxktmr        900.00 lnternet/on-l
                                                                                  -ine
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
                                                                          PX 2,pg.25
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 Paymentsfrom OtherFoley Com paniesto DerekFoley




   Item      NameïBankïAccount PostedDate Reference#     Amount          Deseription
       73 OnlineProfitNetworkInc  1/22/2019 Ib05P9Tksn      800.00 Internet/on-Line
           (WeIIsFargoBankNA                                       TransferDebit
          #2280)
       74 Online ProfitNetworkInc 1/22/2019 Ib05Pbd2x8       300.00 Internet/on-Line
          (W eIIsFargoBankNA                                        TransferDebit
          #2280)
       75 Online ProfitNetworkInc 1/28/2019 lbQ5Q4Sn65       150.00 Internet/on-l
                                                                                -ine
           (W eIIsFargoBankNA                                       TransferDebit
          #2280)
       76 OnlineProfitNetworkInc  1/29/2019 Ib05Qg7Tth        21.00 Internet/on-Line
          (W eIIsFargo BankNA                                       TransferDebit
          #2280)
       77 OnlineProfitNetworklnc   2/4/2019 lb05R4Rwyp       146.00 lnternet/on-tine
          (W eIIsFargo BankNA                                      TransferDebit
          #2280)
       78 OnlineProfitNetworkInc   2/4/2019 IbQ5R82Ywt       105.00 Internet/on-Line
          (WelI  sFargo BankNA                                     TransferDebit
          #2280)
       79 OnlineProfitNetworkInc   2/5/2019 Jb05RJjI78       120.
                                                                00 Internet/on-Line
          (WeIIsFargo BankNA                                       TransferDebi t
          #2280)
       80 OnlineProfitNetworkInc   2/7/2019 Ib05Rrd5D2       300.00 Internet/on-l
                                                                                -ine
          (W e1IsFargoBankNA                                       TransferDebit
          #2280)
       81Online ProfitNetworkInc   2/8/2019 IbosRttvzy       100.00 Internet/on-Line
          (WeIIsFargoBankNA                                         TransferDebit
          #2280)
       82 OnlineProfitNetworkInc  2/11/2019 IbQ5S7Jfxb       166.92 Internet/on-l
                                                                                -ine
          (W eIIsFargoBankNA                                        TransferDebit
          #2280)
       83 Online ProfitNetworkInc 2/11/2019 lb05S477Yw       124.00 Internet/on-Line
          (WeIIsFargoBankNA                                         TransferDebit
          #2280)
       84 Online ProfitNetworkInc 2/11/2019 IbO5S4F6Fp        65.00 Internet/on-t
                                                                                -ine
          (W eIIsFargo BankNA                                      TransferDebit
          #2280)

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 Paymentsfrom OtherFoley Com paniesto DerekFoley




   l'em      NameïBankïAttount PostedDate Reference#      Amount          Description
       85 OnlineProfitNetworkInc  2/12/2019 Ibossbprzv       150.00 Internet/on-Line
           (W eIIsFargoBankNA                                       TransferDebit
          #2280)
       86 OnlineProfi tNetworklnc 2/13/2019 ib05Sgw26V        101.01 Internet/on-l-ine
          (W eIIsFargo BankNA                                       TransferDebit
          #2280)
       87 Online ProfitNetworkInc 2/14/2019 Ib05SIy7XI         26.38 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
       88 OnlineProfitNetworkInc  2/15/2019 Ibosssknkz         40.00 Internet/on-Line
          (W e1lsFargo BankNA                                       TransferDebit
          #2280)
       89 OnlineProfitNetworkInc  2/25/2019 IbQ5Txy337        250.00 Internet/on-l
                                                                                 -ine
          (WeII  sFargo BankNA                                       TransferDebit
          #2280)
       90 Online ProfitNetworklnc 2/25/2019 Ib05Tviv2x        100.00 lnternet/on-Line
          (WeII  sFargo BankNA                                       TransferDebit
          #2280)
       91OnlineProfitNetworkInc    3/1/2019 IbQ5Vsrt5N        260.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
       92 Online ProfitNetworkInc  3/4/2019 ibosvxxkzd        700.00 lnternet/on-Line
          (WelIsFargoBankNA                                          TransferDebit
          #2280)
       93 OnlineProfi tNetworklnc  3/4/2019 ibO5W 8Xfr8       130.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
       94 OnlineProfitNetworkInc   3/5/2019 Ib05W F4Ns4       400.00 Internet/on-Line
          (W eIIsFargo BankNA                                       TransferDebit
          #2280)
       95 OnlineProfitNetworkInc   3/7/2019 ib05W Iwj3L       800.00 lnternet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
       96 OnlineProfitNetworkInc   3/7/2019 IbQ5W p49P5       700.00 Internet/on-Line
          (WeII sFargo BankNA                                        TransferDebit
         #2280)
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   ltem     NameïBankïActount PostedDate Reference#       Amount          Destription
       97 OnlineProfi tNetworkInc  3/8/2019 lbQ5W ryh8Z       30.00 Internet/on-Line
          (W eIIsFargo BankNA                                      TransferDebit
          #2280)
       98 OnlineProfitNetworkInc  3/11/2019 1bQ5:2Y492        139.00 Internet/on-l
                                                                                 -ine
          (WeII sFargo BankNA                                        TransferDebit
          #2280)
       99 OnlineProfitNetworkInc  3/15/2019 Ibosxqnxhm        350.00 lnternet/on-l
                                                                                 -ine
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
      100 OnlineProfitNetworkInc  3/18/2019 Ib05XwyzI3        300.00 Internet/on-Line
          (WeIIsFargoBankNA                                          TransferDebit
          #2280)
      101 OnlineProfitNetworklnc  3/20/2019 lbQ5Yd47Ff      1,200.00 lnternet/on-Line
          (WeIIsFargoBankNA                                          TransferDebit
          #2280)
      102 OnlineProfitNetworkInc  3/26/2019 Ib05Z5Sxyt        300.00 Internet/on-l
                                                                                 -ine
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
      103 OnlineProfitNetworklnc  3/27/2019 IbQ5Z8Gkrb      1,300.00 Internet/on-t-ine
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
      104 OnlineProfitNetworkInc  3/28/2019 Ib05Zcxg7V        400.00 lnternet/on-l-ine
          (W eIlsFargo BankNA                                        TransferDebit
         #2280)
      105 OnlineProfitNetworkInc  3/29/2019 Ib05Zk963h        300.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
      106 OnlineProfitNetworkInc   4/1/2019 IbO5ZpIk4Z        400.00 Internet/on-l-ine
          (WeIIsFargo BankNA                                         TransferDebi t
         #2280)
      107 OnlineProfitNetworkInc   4/2/2019 Ib0628Ssi6        450.00 Internet/on-t-ine
          (W ellsFargo BankNA                                       TransferDebi  t
         #2280)
      108 OnlineProfitNetworkInc   4/5/2019 Ib062Rknsj        600.00 Internet/on-l
                                                                                 -ine
          (WeIIsFargoBankNA                                         TransferDebit
         #2280)
                                                                         PX 2,pg.28
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   Item      NameïBankïAccount PostedDate Referente#      Amount          Description
      109 OnlineProfitNetworkInc    4/9/2019 IbQ636Gfmn       50.00 Internet/on-Line
           (WeIIsFargoBankNA                                        TransferDebit
          #2280)
      110 OnlineProfitNetworklnc  4/10/2019 lb063Bgt4K         50.00 lnternet/on-Line
           (WeIIsFargoBankNA                                         TransferDebit
          #2280)
      111 Online ProfitNetworkInc 4/11/2019 IbQ63JfI7P        215.20 Internet/on-Line
          (W ellsFargoBankNA                                         TransferDebit
          #2280)
      112 OnlineProfi tNetworkInc 4/12/2019 ib063Lhpd5        250.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
      113 Online ProfitNetworkInc 4/12/2019 Ib063Lh6Ld      2,000.00 Internet/on-l-ine
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
      114 OnlineProfitNetworklnc  4/12/2019 1b063P695D        400.00 lnternet/on-Line
          (W eIlsFargo BankNA                                        TransferDebit
          #2280)
      115 OnlineProfitNetworkInc  4/17/2019 1b0.64C7691     1,000.00 Internet/on-Line
          (WeIIsFargoBankNA                                          TransferDebit
          #2280)
      116 Online ProfitNetworkInc 4/24/2019 Ib0658Sk9x        230.00 Internet/on-Line
          (W eIIsFargoBankNA                                         TransferDebit
          #2280)
      117 Online ProfitNetworkInc 4/24/2019 Ib0658Sgbs      1,000.00 Internet/on-Line
          (W eIIsFargo BankNA                                       TransferDebit
          #2280)
      118 OnlineProfitNetworkInc  4/26/2019 Ib065L4Rhv        600.00 lnternet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
      119 OnlineProfitNetworkInc  4/29/2019 Ib065Q9R9D        700.00 Internet/on-Line
          (W e1IsFargo BankNA                                        TransferDebit
          #2280)
      120 OnlineProfitNetworkInc  4/29/2019 Ib065Q9Rjn      2,000.00 Internet/on-Line
          (WeIIsFargo BankNA                                         TransferDebi t
          #2280)

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   Item      NamehBankyAccount Pos&edDale Referente#      Amount           Description
      121 OnlineProfitNetworkInc    5/8/2019 1b0678Cgx2     2,000.00 Internet/on-Line
           (W eIIsFargo BankNA                                      TransferDebit
          #2280)
      122 OnlineProfitNetwork1nc  5/16/2019 IbQ68Dkg8T       1,900.00 Internet/on-t-ine
           (W eIIsFargoBankNA                                        TransferDebit
          #2280)
      123 Online ProfitNetworkInc 5/16/2019 IbQ68Dkhs5      5,000.00 Internet/on-Line
          (W eIIsFargoBankNA                                         TransferDebit
          #2280)
      124 OnlineProfitNetworkInc  5/20/2019 Ib068R85CR      4,000.00 Internet/on-Line
           (W eIIsFargoBankNA                                        TransferDebit
          #2280)
      125 OnlineProfitNetworkInc  5/22/2019 Ib0697Lkrz        850.00 Internet/on-Line
          (W e11sFargo BankNA                                       TransferDebit
          #2280)
      126 OnlineProfitNetworkInc  5/22/2019 Ib0897LI
                                                   v7         850.00 Internet/on-Line
          (WeIIsFargo BankNA                                        TransferDebit
          #2280)
      127 OnlineProfitNetworkInc  5/22/2019 1b0697Lp37        350.00 Internet/on-Line
          (WeIIsFargo BankNA                                         TransferDebit
          #2280)
      128 Online ProfitNetworkInc 5/22/2019 Ib0697Lq3T        150.00 Internet/on-l
                                                                                 -ine
          (W ellsFargoBankNA                                         TransferDebit
          #2280)
      129 Online ProfitNetworkInc 5/29/2019 b06B2Rmt2       1,950.00 Internet/on-l
                                                                                 -ine
          (W eIlsFargoBankNA                                         TransferDebit
          #2280)
      130 Online ProfitNetworkInc 5/29/2019 ib06B2Rkwr      2,700.00 Internet/on-l
                                                                                 -ine
          (WeIlsFargoBankNA                                         TransferDebit
          #2280)
      131 OnlineProfitNetworkInc  5/30/2019 Ib06B76Mpb      1,700.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
      132 OnlineProfi tNetworklnc 6/10/2019 ib06Cq6Pkx      1,000.00 lnternet/on-Line
          (WeIIsFargo BankNA                                         TransferDebit
         #2280)

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   Item      NameïBankïAccount Posted Date Reference#    Amount           Description
      133 OnlineProfitNetworkInc  6/10/2019 Ib06Cq6Nr5     3,000.00 Internet/on-Line
          (W eIIsFargo BankNA                                      TransferDebit
          #2280)
      134 Online ProfitNetworkInc 6/13/2019 Ibo6Dbznfy       100.00 Internet/on-Line
          (WeIIsFargoBankNA                                         TransferDebit
          #2280)
      135 OnlineProfitNetworkInc  6/17/2019 lbQ6Dq5PI7      2,000.00 lnternet/on-Line
          (WeIIsFargoBankNA                                          TransferDebit
          #2280)
      136 OnlineProfitNetworkInc  6/21/2019 lbo6Fhywzs      2,000.00 Internet/on-l
                                                                                 -ine
          (WeII sFargo BankNA                                        TransferDebit
          #2280)
      137 OnlineProfitNetworkInc  6/21/2019 IbQ6Fhyx56      2,500.00 Internet/on-l
                                                                                 -ine
          (WeIIsFargo BankNA                                         TransferDebit
          #2280)
      138 OnlineProfitNetworkInc   7/5/2019 Ib06Hf8Yks      1,300.00 lnternet/on-Line
          (WeII sFargo BankNA                                       TransferDebi  t
          #2280)
      139 OnlineProfitNetworkInc   7/5/2019 Ib06Hf8Xpy      1,500.00 Internet/on-Line
          (WeIIsFargo BankNA                                         TransferDebit
          #2280)
      140 OnlineProfitNetworkInc  7/12/2019 Ib08Jjgg8C      8,000.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
      141 OnlineProfitNetworkInc  7/12/2019 lbo6ljghtk      6,000.00 lnternet/on-t-ine
          (W eIlsFargo BankNA                                        TransferDebit
          #2280)
      142 OnlineProfitNetworklnc  7/12/2019 lbO6Jjgdx3      5,000.00 Internet/on-Line
          (W eIIsFargoBankNA                                         TransferDebit
          #2280)
      143 Online ProfitNetworkInc 7/18/2019 Ibo6Kbympm      6,500.00 Internet/on-Line
           (WelIsFargoBankNA                                         TransferDebit
          #2280)
      144 OnlineProfitNetworkInc  7/23/2019 Ib06Kz24F8      2,400.00 Internet/on-Line
           (WeIIsFargoBankNA                                         TransferDebit
          #2280)
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   Item     NameïBankïAccount Posted Date Referente#     Amount           Description
      145 Online ProfitNetworkInc 7/24/2019 Ib06L5Cx3x     5,000.00 Internet/on-Line
          (W elIsFargoBankNA                                        TransferDebit
          #2280)
      146 Online ProfitNetworkInc 7/24/2019 IbQ6L5Cych     5,500.00 Internet/on-Line
          (W eIIsFargoBankNA                                        TransferDebit
          #2280)
      147 Online ProfitNetworkInc 7/31/2019 Ib06Lz         6,000.00 Internet/on-l
                                                                                -ine
          (WeIIsFargoBankNA                                         TransferDebit
          #2280)
      148 Online ProfitNetworkInc 7/31/2019 Ib06M2Bq85    25,000.00 lnternet/on-l
                                                                                -ine
          (WeIIsFargoBankNA                                         TransferDebit
          #2280)
      149 Online ProfitNetworkInc  8/9/2019 Ib06Nhqcq8     8,500.00 Internet/on-l
                                                                                -ine
          (WelIsFargoBankNA                                         TransferDebit
          #2280)
      150 Online ProfitNetworkInc 8/26/2019 Ibo6opxvhn     12,000.00 Internet/on-Line
          (W eIIsFargoBankNA                                         TransferDebit
          #2280)
      151Online ProfitNetworkInc  8/29/2019 IbQ6Rbrm84      5,800.00 Internet/on-Line
          (W eIIsFargoBankNA                                         TransferDebit
          #2280)
      152 Online ProfitNetworkInc 8/30/2019 Ibo6Rhsjyy     18,000.00 Internet/on-l
                                                                                 -ine
          (WeIIsFargoBankNA                                          TransferDebit
          #2280)
      153 Online ProfitNetworkInc  9/4/2019 Ib08S8Swxi      1,000.00 Internet/on-Line
          (WeIIsFargoBankNA                                          TransferDebit
          #2280)
      154 Online ProfitNetworkInc  9/4/2019 1b06S8Q86G      2,500.00 Internet/on-Line
          (WeIIsFargoBankNA                                          TransferDebit
          #2280)
      155 OnlineProfitNetworkInc   9/4/2019 1b06S8T2N3       750.00 Internet/on-t-ine
          (WeIIsFargoBankNA                                         TransferDebit
          #2280)
      156 OnlineProfitNetworkInc   9/6/2019 1b06Spf9Rd     15,000.00 Internet/on-Line
          (WeIlsFargoBankNA                                          TransferDebi t
          #2280)
                                                                         PX 2,pg.32
                                                                               AttachmentG
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   Item     NameïBankïAccount PostedDate Reference#      Amount           Description
      157 OnlineProfitNetworkInc  9/13/2019 IbQ6Tp7Qsb    24,000.00 Internet/on-Line
          (W eIIsFargo BankNA                                       TransferDebi t
          #2280)
      158 OnlineProfitNetworkInc  9/16/2019 Ib06Tqt73T     25,000.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebi t
          #2280)
      159 OnlineProfitNetworkInc  9/23/2019 IbQ6Vs44Hy     17,000.00 Internet/on-l
                                                                                 -ine
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
      160 OnlineProfitNetworkInc  9/23/2019 IbQ6Vs6Vy2     14,500.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
      161 OnlineProfitNetworkInc  9/30/2019 ibQ6Wr7Vqm     15,000.00 Internet/on-l
                                                                                 -ine
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
      162 OnlineProfitNetworkInc  10/7/2019 Ib06Y8Kfn3      4,000.00 Internet/on-Line
          (WeIIsFargo BankNA                                         TransferDebit
          #2280)
      163 OnlineProfitNetworkInc  10/7/2019 1b0.
                                               6Y8x598      8,000.00 Internet/on-l
                                                                                 -ine
          (WeIIsFargo BankNA                                         TransferDebit
          #2280)
      164 OnlineProfitNetworkInc 10/11/2019 Ib08Y149Fq      5,360.00 Internet/on-l
                                                                                 -ine
          (WeII sFargo BankNA                                        TransferDebit
          #2280)
      165 OnlineProfitNetworkInc 10/11/2019 tb06Yt46H4      7,300.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebi t
          #2280)
      166 OnlineProfitNetworkInc 10/11/2019 ib06Yt78Ng      5,000.00 Internet/on-l
                                                                                 -ine
          (WeIlsFargo BankNA                                         TransferDebit
          #2280)
      167 OnlineProfitNetworklnc 10/11/2019 Ib06Yt4Tj7      6,000.00 Internet/on-Line
          (WeIIsFargo BankNA                                         TransferDebi t
          #2280)
      168 OnlineProfitNetworklnc 10/24/2019 1b0.
                                               72NH758      9,000.00 Internet/on-Line
          (WeIIsFargo BankNA                                         TransferDebi t
          #2280)

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 Paymentsfrom OtherFoley Companiesto Derek Foley




   Item     NameïBankïAccount PostedDate Reference#        Amount           Description
      169 OnlineProfitNetworkInc  10/29/2019 IbQ738Ssmc      9,000.00 Internet/on-Line
          (WeIIsFargo BankNA                                          TransferDebi t
         #2280)
      170 OnlineProfitNetwork1nc   11/5/2019 Ib074Jctyp       7,000.00 Internet/on-Line
          (WeIIsFargo BankNA                                           TransferDebi t
         #2280)
      171 OnlineProfitNetworkInc   11/8/2019 lb074Zh4W x     13,000.00 lnternet/on-l
                                                                                   -ine
          (W eIIsFargo BankNA                                          TransferDebit
         #2280)
      172 OnlineProfitNetworkInc  11/13/2019 IbO75Jy4Zf       2,947.00 Internet/on-Line
          (W eIlsFargo BankNA                                          TransferDebi t
          #2280)
      173 OnlineProfitNetworkInc  11/13/2019 IbO75Jy3Nf       1,700.00 Internet/on-l
                                                                                   -ine
          (W eIIsFargo BankNA                                          TransferDebit
          #2280)
      174 OnlineProfitNetworkInc  11/19/2019 IbQ76K9W x7     10,000,00 Internet/on-Line
          (W eIIsFargo BankNA                                         TransferDebi  t
          #2280)
      175 OnlineProfitNetworklnc   12/2/2019 lb07879Rzk       2,500.00 Internet/on-Line
          (W eIIsFargo BankNA                                          TransferDebit
          #2280)
      176 OnlineProfitNetworklnc   12/2/2019 Ib07879Sqr       2,500.00 Internet/on-Line
          (W elIsFargo BankNA                                          TransferDebit
          #2280)
      177 OnlineProfi tNetworkInc 12/10/2019 lbO79Sn2VI       2,000.00 Internet/on-Line
          (W ellsFargo BankNA                                          TransferDebit
          #2280)
      178 Online ProfitNetworkInc  1/13/2020 lbo7Gxkclh       1,500.00 lnternet/on-Line
          (W eIIsFargoBankNA                                           TransferDebit
          #2280)
      179 Online ProfitNetworkInc  1/15/2020 IbQ7H8Yzfs       1,500.00 Internet/on-Line
          (WeIIsFargoBankNA                                            TransferDebit
          #2280)
      180 Online ProfitNetworkInc  1/21/2020 Ib07Ht4Sb8       3,000.00 Internet/on-Line
          (WeIIsFargoBankNA                                            TransferDebit
          #2280)
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 Paym entsfrom OtherFoley Com paniesto Derek Foley




   ltem     NameïBankïAccount Posted Date Reference#      Amount           Description
      181 OnlineProfitNetworkInc  1/22/2020 lbo7lbhwfy      1,000.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
      182 OnlineProfitNetworklnc  1/30/2020 Ibo7Kdhsf3       1,500.00 lnternet/on-Line
          (W ellsFargo BankNA                                         TransferDebit
          #2280)
      183 Online ProfitNetworkInc 2/18/2020 Ib07Njf847       2,000.00 lnternet/on-l-ine
          (W eIIsFargo BankNA                                         TransferDebi t
          #2280)
      184 OnlineProfitNetworkInc  2/25/2020 ib07PI6V3H       1,500.00 Internet/on-Line
          (W eIIsFargo BankNA                                         TransferDebit
          #2280)
      185 OnlineProfitNetworkInc  2/26/2020 ib07Pp8NIg       2,000.00 Internet/on-t-ine
          (W eIIsFargo BankNA                                         TransferDebi t
          #2280)
      186 OnlineProfitNetworkInc  2/28/2020 Ib07Q67W7B       1,700.00 Internet/on-Line
          (WeIIsFargoBankNA                                           TransferDebit
          #2280)
      187 Online ProfitNetworkInc 2/28/2020 Ib07Q67Twb       2,500.00 Internet/on-Line
          (WeIIsFargoBankNA                                           TransferDebit
          #2280)
      188 OnlineProfitNetworklnc  2/28/2020 lb07Q36V3V       1,500.00 Internet/on-Line
          (WeII sFargo BankNA                                         TransferDebit
          #2280)
      189 Online ProfitNetworkInc  3/4/2020 1b07R20.678     4,000.00 Internet/on-Line
          (WellsFargoBankNA                                          TransferDebit
          #2280)
      190 OnlineProfitNetworklnc   3/4/2020 1b07R2Q72L       6,500.00 lnternet/on-Line
          (WeIlsFargoBankNA                                           TransferDebit
          #2280)
      191 OnlineProfitNetworkInc   3/6/2020 Ib07Rk9Qrk       1,000.00 lnternet/on-t-ine
          (W eIIsFargoBankNA                                         TransferDebit
          #2280)
      192 OnlineProfitNetworkInc   3/6/2020 IbQ7Rk9P9C      4,500.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferDebit
          #2280)
                                                                          PX 2,pg.35
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 Paym entsfrom OtherFoley Com paniesto DerekFoley




   ltem     NameïBankïAccount PostedDate Reference#     Amount           Description
      193 OnlineProfitNetworkInc 3/23/2020 Ib07Tw9Lxy     2,500.00 Internet/on-Line
          (WeIIsFargo BankNA                                       TransferDebi t
         #2280)
           Total                                        450,388.91




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 Paym entsfrom DerekFoley to OtherFoley Companies




   Item    NameïBankïAccount Posted Date Reference#       Amount          Description
       1 Online Profi
                    tNetworkInc 2/12/2018 Ib048Khssy          50.00 Internet/on-Line
         (W eIIsFargoBankNA                                         TransferCredit
         #2280)
       2 OnlineProfitNetworkInc 2/16/2018 5004680480488       999.75 TransferIn(Internal)
         (W elIsFargoBankNA
         #2280)
       3 OnlineProfitNetworkInc 2/21/20185004680524513         70.75 TransferIn(lnternal)
         (W e1IsFargo BankNA
         #2280)
       4 OnlineProfitNetworklnc 2/28/2018 Ib04B7x6Br          300.00 Internet/on-l-ine
         (W eIIsFargo BankNA                                         TransferCredi t
         #2280)
       5 Online Profi
                    tNetworkInc  3/2/2018 Ib04Bmz867           92.67 Internet/on-l-ine
         (W eIIsFargo BankNA                                        TransferCredit
         #2280)
       6 Online Profi
                    tNetworkInc  3/5/2018 5003880630221       399.75 TransferIn(Internal)
         (W eIIsFargoBankNA
         #2280)
       7 Online Profi
                    tNetworkInc  3/7/2018 1b04C3427L           30.70 Internet/on-Line
         (W eIIsFargo BankNA                                         TransferCredit
         #2280)
       8 OnlineProfitNetworkInc  3/8/2018 Ib04C6Yzs3           80.00 Internet/on-Line
         (W eIIsFargo BankNA                                        TransferCredit
         #2280)
       9 Online Profi
                    tNetworkInc  3/8/2018 IbQ4C6Hgk3           30,00 lnternet/on-t-ine
         (W eIIsFargoBankNA                                         TransferCredit
         #2280)
      10 Online Profi
                    tNetworkInc 3/19/2018 5003080785924      1,199.75TransferIn(Internal)
         (W eIIsFargoBankNA
         #2280)
      11 Online Profi
                    tNetworkInc 3/21/2018 5003080807339       886.10TransferIn(Internal)
         (W eIIsFargoBankNA
         #2280)
      12 Online Profi
                    tNetworkInc 3/26/2018 Ibo4Dtpcyd          150.00 Internet/on-Line
          (W eIIsFargoBankNA                                         TransferCredit
          #2280)
                                                                         PX 2,pg.37
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 Paymentsfrom DerekFoley to OtherFoley Com panies




   ltem     NameïBankïActount Posted Date Reference#        Amount          Destription
       13 OnlineProfi tNetworkInc  4/6/2018 IbQ4G873Qn         250.00 Internet/on-Line
          (W eIIsFargo BankNA                                         TransferCredit
          #2280)
       14 OnlineProfitNetworkInc   4/9/2018 Ib04Gbz3Y6           30.00 Internet/on-l
                                                                                   -ine
          (W eIIsFargo BankNA                                          TransferCredit
          #2280)
       15 Online ProfitNetworkInc 4/23/2018 Ib04Ht4J8D          350.00 Internet/on-Line
          (WellsFargoBankNA                                            TransferCredit
          #2280)
       16 Online ProfitNetworkInc 4/23/2018 Ib04Hyk6Gv          129.00 Internet/on-l
                                                                                   -ine
          (WeIIsFargoBankNA                                            TransferCredit
          #2280)
       17 Online ProfitNetworkInc 4/24/2018 b04J2T9Xj           100.00 Internet/on-l
                                                                                   -ine
          (WeIIsFargoBankNA                                            TransferCredit
          #2280)
       18 Online ProfitNetworkInc 4/25/2018 Ib04J6Dg8H         1,000.00 Internet/on-Line
          (W eIIsFargoBankNA                                            TransferCredit
          #2280)
       19 Online ProfitNetworkInc 4/25/2018 Ib04J6Grkd          500.00 Internet/on-Line
          (WeIIsFargoBankNA                                            TransferCredit
          #2280)
       20 OnlineProfitNetworkInc   5/4/2018 5003081250272       699.75 TransferIn(Internal)
          (WeIIsFargoBankNA
          #2280)
       21 OnlineProfitNetworkInc   5/4/2018 IbQ4Khch68          100.00 lnternet/on-Line
          (WeIIsFargo BankNA                                           TransferCredit
          #2280)
       22 OnlineProfitNetworkInc   5/7/2018 Ib04Kntg4D           80.00 Internet/on-l
                                                                                   -ine
          (WeIIsFargo BankNA                                           TransferCredit
          #2280)
       23 OnlineProfitNetworkInc  5/14/2018 5003881328331       394.73 TransferIn(Internal)
          (W eI1sFargo BankNA
          #2280)
       24 OnlineProfitNetworkInc  5/14/2018 Ib04Ljvd42           50.00 Internet/on-Line
          (W elIsFargo BankNA                                          TransferCredit
          #2280)
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 Paym entsfrom DerekFoley to OtherFoley Companies




   ltem      NameïBankïAtcount PostedDate Reference#        Amount          Description
       25 OnlineProfitNetworkInc  5/21/2018 Ib04M7Jycx         150.00 Internet/on-l
                                                                                  -ine
           (W eIIsFargo BankNA                                        TransferCredit
           #2280)
       26 OnlineProfitNetworklnc  5/21/2018 Ib04Mbzy5P           16.00 lnternet/on-Line
           (WeIIsFargoBankNA                                           TransferCredit
          #2280)
       27 OnlineProfitNetworkInc  5/24/2018 ib04Mq2V2L          200.00 Internet/on-Line
           (WeIIsFargo BankNA                                          TransferCredit
          #2280)
       28 Online ProfitNetworkInc 5/30/2018 5003881500544        99.75TransferIn(Internal)
          (WeIIsFargoBankNA
          #2280)
       29 OnlineProfi tNetworkinc 5/30/2018 lb04Nbhh67            9.33 lnternet/on-Line
           (WeIIsFargoBankNA                                           TransferCredit
          #2280)
       30 OnlineProfitNetworkInc   6/1/2018 5003081520379       309.16 TransferIn(Internal)
          (W eIIsFargo BankNA
          #2280)
       31 OnlineProfitNetworkInc  6/13/2018 5005881647463       199.75 Transferln(Internal)
          (W eIIsFargo BankNA
          #2280)
       32 OnlineProfitNetworkInc  6/18/2018 ib04Qpv56K           85.00 Internet/on-Line
          (WeIIsFargoBankNA                                            TransferCredit
          #2280)
       33 OnlineProfitNetworkInc  6/19/2018 5005881704230       249.75 TransferIn(Internal)
          (WeIIsFargo BankNA
          #2280)
       34 OnlineProfitNetworkInc  6/22/2018 Ibo4Rbkfk6          100.10 Internet/on-l
                                                                                   -ine
          (WeIIsFargoBankNA                                            TransferCredit
          #2280)
       35 OnlineProfitNetworkInc  7/16/2018 ib04V63TX3          150.00 Internet/on-Line
          (WelIsFargo BankNA                                           TransferCredit
          #2280)
       36 OnlineProfitNetworkInc  7/17/2018 1b04Vf1555           10.46 Internet/on-l
                                                                                   -ine
          (W elIsFargo BankNA                                         TransferCredit
          #2280)

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 Paym entsfrom DerekFoley to OtherFoley Com panies




   ltem     NameïBankïAtcount Posted Date Reference#     Amount          Description
       37 OnlineProfitNetworkInc  7/17/2018 Ib04Vft2Zp       52.98 Internet/on-l-ine
          (W eIIsFargo BankNA                                      TransferCredi t
          #2280)
       38 OnlineProfitNetworkInc  7/17/2018 ib04Vft3Y8        10.00 Internet/on-Line
          (W eIIsFargo BankNA                                       TransferCredit
          #2280)
       39 OnlineProfitNetworkInc  9/18/2018 Ibosscrqnv       183.00 Internet/on-l
                                                                                -ine
          (W eIIsFargo BankNA                                       TransferCredit
          #2280)
       40 OnlineProfitNetworkInc  9/18/2018 Ib055D88KY        95.03 Internet/on-t-ine
          (W eIIsFargo BankNA                                       TransferCredit
          #2280)
       41 OnlineProfitNetworkInc  9/24/2018 Ib0563Bfdz       150.00 Internet/on-l
                                                                                -ine
          (W eIIsFargo BankNA                                       TransferCredit
          #2280)
       42 OnlineProfitNetworkInc  9/26/2018 Ib0569x5Bh        70.00 Internet/on-Line
          (W eIIsFargo BankNA                                       TransferCredit
          #2280)
       43 OnlineProfitNetworkInc 10/10/2018 Ib05866LPS        15.00 Internet/on-Line
          (WeIlsFargo BankNA                                        TransferCredit
          #2280)
       44 OnlineProfitNetworkInc 10/23/2018 IbO59Stryr       135.
                                                                00 Internet/on-l
                                                                               -ine
          (WeIIsFargo BankNA                                      TransferCredit
          #2280)
       45 OnlineProfitNetworklnc 11/13/2018 Ib05Djv5Yc        11.11 Internet/on-l
                                                                                -ine
          (WeII sFargo BankNA                                       TransferCredit
          #2280)
       46 OnlineProfitNetworkInc 11/15/2018 Ib05Dtydq2       250.00 lnternet/on-l
                                                                                -ine
          (WeIIsFargo BankNA                                        TransferCredit
          #2280)
       47 OnlineProfitNetworkInc 11/23/2018 Ib05Fs9Gwk       210.00 Internet/on-Line
          (W eIIsFargo BankNA                                       TransferCredit
          #2280)
       48 OnlineProfitNetworkInc 11/27/2018 IbO5G7S37W     1,000.00 Internet/on-Line
          (WeII sFargo BankNA                                       TransferCredit
          #2280)
                                                                        PX 2,pg.40
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 Paym entsfrom DerekFoley to OtherFoley Com panies




   Item     NameïBankïAccount Posted Date Reference#      Amount          Description
       49 OnlineProfi tNetworkInc 11/28/2018 Ib05Gd5D95      900.00 Internet/on-Line
          (W eIIsFargoBankNA                                        TransferCredit
          #2280)
       50 OnlineProfitNetworkInc  12/10/2018 Ib05J4B88W        88.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferCredit
          #2280)
       51 OnlineProfi tNetworkInc  1/22/2019 IbO5Pl2SI4       100.00 Internet/on-l-ine
          (W elIsFargo BankNA                                        TransferCredit
          #2280)
       52 OnlineProfitNetworkInc   1/30/2019 Ib05Qjb4Bc        21.00 Internet/on-Line
          (We1IsFargo BankNA                                         TransferCredit
          #2280)
       53 OnlineProfitNetworkInc   3/22/2019 IbO5Yqp8D7       430.00 Internet/on-l
                                                                                 -ine
          (WeIIsFargoBankNA                                          TransferCredit
          #2280)
       54 Online ProfitNetworklnc  3/22/2019 lbosYpbnbm       100.00 lnternet/on-tine
          (WeIIsFargoBankNA                                          TransferCredit
          #2280)
       55 OnlineProfi tNetworkInc  3/25/2019 Ib05Yz8J66        50.00 Internet/on-l
                                                                                 -ine
          (W eIlsFargo BankNA                                        TransferCredit
          #2280)
       56 OnlineProfitNetworkInc   3/28/2019 Ib05Zfc8Hm       1S8.00 Internet/on-Line
          (W eIlsFargo BankNA                                        TransferCredit
          #2280)
       57 OnlineProfitNetworkInc    4/4/2019 Ib062Jwq2C       120.00 Internet/on-l
                                                                                 -ine
          (W el!sFargo BankNA                                        TransferCredit
          #2280)
       58 OnlineProfitNetworklnc   4/23/2019 Ib0653Qzbv       800.00 lnternet/on-l-ine
          (WeIIsFargo BankNA                                        TransferCredit
          #2280)
       59 OnlineProfitNetwork1nc    6/7/2019 1b06Cjtfs3     1,200.00 Internet/on-Line
          (W eIIsFargo BankNA                                       TransferCredit
          #2280)
       60 OnlineProfitNetworkInc   6/11/2019 Ib06D3M93L     3,000.00 Internet/on-Line
          (WelIsFargoBankNA                                          TransferCredit
          #2280)

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 Paymentsfrom Derek Foleyto OtherFoley Com panies




   ltem      NameïBankïAccount Posted Date Reference#     Amount          Destription
       61OnlineProfitNetworkInc    6/13/2019 Ib06Dbzm9V      700.00 Internet/on-Line
           (WeIIsFargoBankNA                                        TransferCredit
          #2280)
       62 OnlineProfi tNetworkInc   9/3/2019 lb06S2Gq9Y     2,500.00 Internet/on-l-ine
          (W eIIsFargo BankNA                                        TransferCredit
          #2280)
       63 OnlineProfitNetworkInc   9/10/2019 Ib06T3Lm47     5,000.00 Internet/on-Line
          (W eIIsFargo BankNA                                        TransferCredit
          #2280)
       64 OnlineProfitNetworkInc   9/23/2019 IbO6Vs7Xy4    11,000.00 Internet/on-l
                                                                                 -ine
          (W elIsFargo BankNA                                        TransferCredit
          #2280)
       65 OnlineProfitNetworklnc   9/23/2019 1b06Vzhc5D     3,000.00 lnternet/on-l
                                                                                 -ine
          (W eIIsFargo BankNA                                        TransferCredit
          #2280)
       66 OnlineProfitNetworkInc  11/29/2019 Ib077Yphvf     3,753.00 Internet/on-Line
          (WeII sFargo BankNA                                       TransferCredit
          #2280)
       67 OnlineProfitNetworklnc  12/12/2019 1b07825195     3,000.00 lnternet/on-Line
          (WeIIsFargo BankNA                                         TransferCredit
          #2280)
       68 OnlineProfitNetworkInc  12/13/2019 Ib07Bb9Cxy     2,000.00 Internet/on-Line
          (W eIIsFargoBankNA                                         TransferCredit
          #2280)
       69 Online ProfitNetworkInc 12/16/2019 ib07BIx6Gd     5,000.00 Internet/on-l
                                                                                 -ine
          (WeIIsFargoBankNA                                          TransferCredit
          #2280)
       70 Online ProfitNetworkInc 12/31/2019 Ib07Dw3Xnv     2,000.00 Internet/on-l
                                                                                 -ine
          (W eIIsFargo BankNA                                       TransferCredit
          #2280)
       71OnlineProfitNetworkInc     1/3/2020 IbO7Fgqf46     2,500.00 Internet/on-Line
          (W ellsFargoBankNA                                        TransferCredit
          #2280)
       72 Online ProfitNetworkInc  2/10/2020 IbO7Lzpg6J     2,000.00 Internet/on-Line
          (W eIIsFargo BankNA                                       TransferCredit
          #2280)
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 Paym entsfrom Derek Foleyto OtherFoleyCom panies




   Item     NameïBankïAccount PostedDate Reference#      Amount           Description
       73 OnlineProfitNetworkInc  3/13/2020 Ibo7siqpf      3,500.00 Internet/on-Line
          (WeIIsFargoBankNA                                         TransferCredit
          #2280)
       74 Online ProfitNetworkInc 3/24/2020 Ib07V3Zs25      1,500.00 Internet/on-t
                                                                                 -ine
          (WeIIsFargoBankNA                                          TransferCredit
          #2280)
           Total                                          66,154.37




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 Venm o CashoutDerekJones




   Item         NameïBankïAccount       Posted Date Reference#   Amount         Description
          1OnlineProfi
                     tNetwork,Inc.        9/10/2019 2480465157     1,000.00 VenmoCashout
           (WeIIsFargoBankNA #2280)                                         DerekJones

          2 OnlineProfitNetwork,Inc.     9/10/2019 2480464542       2,000.00 VenmoCashout
            (W eIIsFargoBankNA #2280)                                        DerekJones

          3 OnlineProfitNetwork,Inc.    10/10/2019 2597751777         50.00 VenmoCashout
            (W eIIsFargoBankNA #2280)                                       DerekJones

          4 OnlineProfitNetwork,Inc.    10/18/2019 2630390843        210.66 VenmoCashout
            (W eIIsFargo BankNA#2280)                                       DerekJones

          5 OnlineProfitNetwork,Inc.    10/28/2019 2667160243       1,500.00 VenmoCashout
            (W eIIsFargo BankNA#2280)                                        DerekJones

          6 OnlineProfitNetwork,lnc.     11/6/2019 2705957859        500.00 VenmoCashout
            (W eIIsFargo BankNA#2280)                                       DerekJones

          7 OnlineProfitNetwork,Inc.     11/8/2019 2712582391        500.00 VenmoCashout
            (WeIIsFargoBankNA #2280)                                        DerekJones

          8 OnlineProfitNetwork,Inc.     11/8/2019 2714486832      1,500.00 VenmoCashout
            (WeIIsFargoBankNA#2280)                                         DerekJones

          9 OnlineProfitNetwork,Inc.    11/12/2019 2720431396      1,000.00 VenmoCashout
            (W ellsFargoBankNA #2280)                                       DerekJones

      10 OnlineProfitNetwork,lnc.       11/12/2019 2721226916      2,500.00 VenmoCashout
         (W eIIsFargoBankNA #2280)                                          DerekJones

      11OnlineProfitNetwork,Inc.        11/14/2019 2737210371      1,500.00 VenmoCashout
        (WeIIsFargoBankNA #2280)                                            DerekJones

      12 OnlineProfitNetwork,Inc.       11/15/2019 2741107988      1,500.00 VenmoCashout
         (W eIIsFargo BankNA#2280)                                          DerekJones


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 Venmo CasboutDerekJones




   Item         NameïBankàAtcount     Posted Date Referente#   Amount         Description
       13 OnlineProfitNetwork,Inc.     11/18/2019 2752602905     1,499.99 VenmoCashout
          (W eIIsFargo BankNA#2280)                                       DerekJones

      14 OnlineProfitNetwork,Inc.     11/19/2019 2757459627       1,500.00 VenmoCashout
         (W eIIsFargo BankNA#2280)                                         DerekJones

      15 OnlineProfitNetwork,Inc.     11/21/2019 2765367261       2,500.00 VenmoCashout
         (W eIIsFargo BankNA#2280)                                         DerekJones

      16 Online ProfitNetwork,Inc.    11/25/2019 2776566059        500.00 Venmo Cashout
         (W eIIsFargo BankNA#2280)                                        DerekJones

      17 OnlineProfitNetwork,Inc.     11/26/2019 2785438009        500.00 VenmoCashout
         (W eIIsFargo BankNA#2280)                                        DerekJones

      18 OnlineProfitNetwork,Inc.      12/4/2019 2816001458        500.00 VenmoCashout
         (W eIIsFargo BankNA#2280)                                        DerekJones

      19 OnlineProfitNetwork,Inc.      12/4/2019 2816759625        500.00 VenmoCashout
         (W eIIsFargo BankNA#2280)                                        DerekJones

      20 OnlineProfitNetwork,Inc.      12/5/2019 2821219735       1,500.00 VenmoCashout
         (W eIIsFargo BankNA#2280)                                         DerekJones

      21 OnlineProfitNetwork,Inc.      12/5/2019 2821458722       1,200.00 VenmoCashout
         (W eIIsFargo BankNA#2280)                                         DerekJones

      22 OnlineProfitNetwork,Inc.      12/6/2019 2826366834       1,450.00 VenmoCashout
         (W eIIsFargo BankNA#2280)                                         DerekJones

      23 OnlineProfitNetwork,Inc.      12/6/2019 2824043433        770.00 VenmoCashout
         (W eIIsFargo BankNA#2280)                                        DerekJones

           Total                                                26,180.65



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 Paymentsfrom OtherFoleyCompaniesto W illiam Foley




   Item       NameïBankïAccount      PostedDate Reference#   Amount          Description
          1 BizSitesandGuides,lnc.       3/5/2018 2800        19,000.00 CheckPaid
            (BB&T#3791)

          2 BizSitesandGuides,Inc.     4/16/2018 2803         10,000.00 CheckPaid
            (BB&T#3791)

          3 BBLMobile,Inc.(BB&T        8/21/2018 2364          2,000.00 CheckPaid
           #8312)

          4 BBLMobile,Inc.(BB&T        8/21/2018 2365          1,500.00 CheckPaid
            #8312)

          5 BBLMobile,Inc.(BB&T        10/1/2018 2369          3,000.00 CheckPaid
           #8312)

          6 BBLMobile,Inc.(BB&T        10/1/2018 2370          3,000.00 CheckPaid
            #8312)

          7 BBLMobile,Inc.(BB&T       11/30/2018 2372          2,000.00 CheckPaid
            #8312)

          8 BBLMobile,Inc.(BB&T       12/19/2018 2375            750.00 CheckPaid
            #8312)

          9 BBLMobile,Inc,(BBKT       12/19/2018 2374          1,250.00 CheckPaid
            #8312)

      10 BBLMobile,Inc.(BB&T           2/11/2019 2378          1,000.00 CheckPaid
         #8312)

      11 BizSitesandGuides,lnc.        2/15/2019 2805          2,000.00 CheckPaid
         (BB&T#3791)

      12 BBLMobile,Inc.(BB&T            4/1/2019 2389            600.00 CheckPaid
         #8312)

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 Paymentsfrom OtherFoleyCompaniesto W illiam Foley




   Item     NameïBankïAccount     PostedDate Reference#   Amount          Description
       13 BBLMobile,Inc.(BBKT        4/26/2019 2393         3,000.00 CheckPaid
         #8312)

      14 BBLMobile,Inc.(BB&T          5/6/2019 2394         2,000.00 CheckPaid
         #8312)

      15 BBLMobile,Inc.(BB&T          5/6/2019 2395         2,000.00 CheckPaid
         #8312)

      16 BBLMobile,lnc.(BB&T        5/28/2019 2396          1,250.00 CheckPaid
        #8312)

      17 BBLMobile,Inc.(BB&T        5/28/2019 2397          1,250.00 CheckPaid
         #8312)

      18 BBLMobile,Inc.(BB&T        6/17/2019 2398          2,500.00 CheckPaid
         #8312)

      19 BBLMobile,Inc.(BB&T        6/17/2019 2399          2,500.00 CheckPaid
         #8312)

      20 BBLMobile,Inc.(BBKT        7/29/2019 2401          5,000.00 CheckPaid
         #8312)

      21BBLMobile,Inc.(BB&T         8/12/2019 2403         25,000.00 CheckPaid
        #8312)

      22 BBLMobile,Inc.(BB&T        8/12/2019 2402         20,000.00 CheckPaid
         #8312)

      23 BBLMobile,Inc.(BB&T        9/16/2019 2405         30,000.00 CheckPaid
         #8312)

      24 BizSitesandGuides,Inc.     9/16/2019 2816         20,000.00 CheckPaid
         (BB&T#3791)


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 Paymentsfrom OtherFoleyCom paniesto W illiam Foley




   ltem     NameïBankïAtcount     PostedDate Referente#   Amount          Description
       25 BBLMobile,Inc.(BB&T       10/15/2019 2408         7,400.00 CheckPaid
         #8312)

      26 BBLMobile,Inc.(BBKT         1/16/2020 2409        10,000.00 CheckPaid
        #8312)

      27 BizSi
             tesandGuides,Inc.       1/16/2020 2821        10,000.00 CheckPaid
         (BB&T#3791)

           Total                                          188,000.00




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 TransactionswithJenniferHedrick




   Item       NameïBankïAtcount PostedDate Reference# Paid Received Description
          1 DigitalIncomeSystem,  7/10/2019              0.00 1,000.00 CashiersCheck
            Inc.(WeIIsFargoBankNA
            #5873)
          2 DigitalIncomeSystem,  12/2/2019 1068     1,000.00     0.00 CheckPaid
            Inc.(WeIIsFargoBankNA
            #5873)
          3 DigitalIncomeSystem,  1/28/2020 1076       500.00     0.00 CheckPaid
            Inc.(WeIIsFargoBankNA
            #5873)
          4 DigitalIncomeSystem,  1/28/2020 1073     1,000.00     0.00 CheckPaid
            lnc.(WeIlsFargoBankNA
            #5873)
          5 BBLMobile,Inc.(BB&T   2/10/2020 2410       500.00     0.00 CheckPaid
            #8312)

             Total                                     3,000.00   1,000.00




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 W ithdraw alsfrom OtherFoley Com panies




   Item       NameïBankïAccount       Date        Amount      Description
          1 BBLMobile,Inc.(BB&T        1/8/2018      200.00 ATM W ithdrawal
           #8312)

          2 BBLMobile,Inc.(BB&T       1/16/2018       200.00 ATM W ithdrawal
           #8312)

          3 OnlineProfitNetwork,      1/24/2018       103.99 ATM W ithdrawal
            Inc.(WelIsFargoBankNA
            #2280)
          4 Online ProfitNetwork,     1/26/2018       203.00 ATM W i
                                                                   thdrawal
            Inc.(W eIIsFargoBankNA
            #2280)
          5 BBLMobile,Inc.(BB&T        2/5/2018       200.00 ATM W i
                                                                   thdrawal
            #8312)

          6 OnlineProfitNetwork,       2/5/2018       300.00 ATM W i
                                                                   thdrawal
            Inc.(W elIsFargo BankNA
            #2280)
          7 BBLMobile,Inc.(BB&T       2/14/2018       300.00 ATM W i
                                                                   thdrawal
            #8312)

       8 OnlineProfitNetwork,          3/5/2018       103.00 ATM W i
                                                                   thdrawal
         Inc.(W eIIsFargo BankNA
         #2280)
       9 OnlineProfitNetwork,          3/9/2018       202.50 ATM W i
                                                                   thdrawal
         Inc.(W eI1sFargo BankNA
         #2280)
      10 OnlineProfitNetwork,          3/9/2018       102.50 ATM W i
                                                                   thdrawal
         Inc.(W eIIsFargoBankNA
         #2280)
      11OnlineProfi  tNetwork,        3/12/2018       203.00 ATM W i
                                                                   thdrawal
         Inc.(W elIsFargo BankNA
         #2280)
      12 BBLMobile,Inc.(BB&T          3/27/2018       100.00 ATM W i
                                                                   thdrawal
         #8312)


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 W ithdraw alsfrom OtherFoleyCom panies




   Item     NameïBankïAccount         Date        Amount      Description
       13 OnlineProfitNetwork,         4/9/2018       20.00 ATM W ithdrawal
          Inc.(W eIlsFargo BankNA
          #2280)
       14 OnlineProfitNetwork,       4/10/2018        300.00 ATM Withdrawal
          Inc.(We1lsFargoBankNA
         #2280)
       15 BBLMobile,Inc.(BB&T        4/16/2018        100.00 ATM W ithdrawal
         #8312)

      16 OnlineProfitNetwork,        4/19/2018        225.80 ATM W ithdrawal
         Inc.(WeIIsFargoBankNA
         #2280)
      17 Online ProfitNetwork,       5/11/2018         83.00 ATM W i
                                                                   thdrawal
         Inc.(W eIIsFargoBankNA
         #2280)
      18 OnlineProfitNetwork,        5/14/2018        280.00 ATM W i
                                                                   thdrawal
         Inc.(W eIIsFargoBankNA
         #2280)
      19 BBLMobile,Inc.(BB&T         5/29/2018        200.00 ATM W ithdrawal
         #8312)

      20 OnlineProfitNetwork,        5/29/2018         82.95 ATM W i
                                                                   thdrawal
         Inc.(W eIIsFargo BankNA
         #2280)
      21 OnlineProfitNetwork,        5/29/2018         82.95 ATM W i
                                                                   thdrawal
         Inc.(W eIIsFargo BankNA
         #2280)
      22 OnlineProfitNetwork,        5/30/2018        220.00 ATM W ithdrawal
         Inc.(WeIIsFargo BankNA
        #2280)
      23 BBLMobile,Inc.(BB&T         5/31/2018        400.00 ATM W i
                                                                   thdrawal
         #8312)

      24 OnlineProfitNetwork,        6/18/2018        102.95 ATM Withdrawal
         lnc.(WeIIsFargoBankNA
         #2280)

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 W ithdraw alsfrom OtherFoley Com panies




   ltem     NameïBankïAtcount         Date        Amount      Destription
       25 BBLMobile,Inc.(BB&T         6/29/2018      100.00 ATM W ithdrawal
          #8312)

      26 BBLMobile,Inc.(BB&T           7/9/2018       200.00 ATM W ithdrawal
         #8312)

      27 Online ProfitNetwork,         7/9/2018        40.00 ATM W ithdrawal
         lnc.(W eIIsFargoBankNA
         #2280)
      28 BBLMobile,Inc.(BB&T          7/25/2018       200.00 ATM W ithdrawal
         #8312)

      29 BBLMobile,Inc.(BBKT          8/15/2018       240.00 ATM W i
                                                                   thdrawal
         #8312)

      30 BBLMobile,Inc.(BBKT          9/12/2018       200.00 ATM W i
                                                                   thdrawal
         #8312)

      31 OnlineProfitNetwork,         9/13/2018       162.95 ATM W i
                                                                   thdrawal
         Inc.(W eIIsFargo BankNA
         #2280)
      32 BBLMobile,Inc.(BB&T          9/21/2018       300.00 ATM W i
                                                                   thdrawal
         #8312)

      33 OnlineProfitNetwork,         9/21/2018       103.00 ATM Withdrawal
         Inc.(W elIsFargo BankNA
         #2280)
      34 BBLMobile,Inc.(BB&T          10/5/2018       200.00 ATM Withdrawal
        #8312)

      35 BBLMobile,Inc.(BB&T          10/9/2018       300.00 ATM W ithdrawal
         #8312)

      36 OnlineProfitNetwork,         10/9/2018       103.00 ATM W ithdrawal
         Inc.(WeIlsFargoBankNA
        #2280)
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 W ithdrawalsfrom OtherFoley Com panies




   Item     NameïBankïActount        Date        Amount      Destription
       37 Online ProfitNetwork,     10/15/2018      300.00 ATM W i
                                                                 thdrawal
          Inc.(W eIIsFargoBankNA
          #2280)
       38 OnlineProfitNetwork       11/13/2018       102.95 ATM W i
                                                                  thdrawal
          Inc.(W eIIsFargo BankNA
          #2280)
       39 BBLMobile,Inc.(BB&T       11/16/2018       200.00 ATM W i
                                                                  thdrawal
          #8312)

      40 BBLMobile,Inc.(BB&T        11/27/2018       200.00 ATM Withdrawal
         #8312)

      41 OnlineProfitNetwork,       12/10/2018       102.95 ATM W ithdrawal
         Inc.(W eIIsFargo BankNA
        #2280)
      42 BBLMobile,Inc.(BB&T        12/12/2018       200.00 ATM W ithdrawal
        #8312)

      43 OnlineProfitNetwork,       12/31/2018       100.00 ATM W ithdrawal
         Inc.(WeIIsFargoBankNA
         #2280)
      44 OnlineProfitNetwork,        1/10/2019       103.00 ATM W ithdrawal
         Inc.(WeIIsFargoBankNA
         #2280)
      45 BBLMobile,Inc.(BB&T         1/11/2019      200.00 ATM W ithdrawal
         #8312)

      46 BBLMobile,Inc.(BB&T         1/24/2019      200.00 ATM W ithdrawal
        #8312)

      47 BBLMobile,Inc.(BB&T         2/11/2019       100.00 ATM W ithdrawal
        #8312)

      48 BBLMobile,Inc.(BB&T          3/1/2019      200.00 ATM W ithdrawal
         #8312)


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 W ithdrawalsfrom OtherFoley Com panies




   Item     NameïBankïAccount        Date        Amount      Description
       49 BBLMobile,Inc.(BB&T        3/18/2019      200.00 ATM W i
                                                                 thdrawal
         #8312)

      50 OnlineProfi tNetwork,        4/8/2019       203.00 ATM W i
                                                                  thdrawal
         Inc.(W eIIsFargoBankNA
         #2280)
      51 Online ProfitNetwork,        4/8/2019       203.00 ATM W i
                                                                  thdrawal
         Inc.(W eIIsFargo BankNA
         #2280)
      52 BBLMobile,Inc.(BB&T         4/12/2019       300.00 ATM W ithdrawal
         #8312)

      53 OnlineProfitNetwork,        4/17/2019       23.00 ATM W i
                                                                 thdrawal
         Inc.(W eIIsFargo BankNA
         #2280)
      54 OnlineProfitNetwork         4/26/2019      300.00 ATM W ithdrawal
         Inc.(WeII sFargoBankNA
        #2280)
      55 BBLMobile,Inc.(BBKT         4/30/2019       200.00 ATM W ithdrawal
        #8312)

      56 BBLMobile,Inc.(BBKT         5/13/2019       200.00 ATM W ithdrawal
        #8312)

      57 OnlineProfitNetwork,        5/20/2019      300.00 ATM W ithdrawal
         lnc.(WeIIsFargoBankNA
         #2280)
      58 BBLMobile,Inc.(BB&T         5/28/2019       200.00 ATM W ithdrawal
         #8312)

      59 OnlineProfitNetwork,        6/24/2019      341.37ATM W ithdrawal
         lnc.(W eIIsFargoBankNA
         #2280)
      60 Online ProfitNetwork,       6/26/2019      308.15 ATM W i
                                                                 thdrawal
         Inc.(W eIIsFargoBankNA
         #2280)
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 W ithdrawalsfrom OtherFoley Com panies




   Item     NameïBankïActount        Date        Amount      Destription
       61 OnlineProfitNetwork,       7/10/2019      263.50 ATM W i
                                                                 thdrawal
          Inc.(W eIIsFargo BankNA
          #2280)
       62 BBLMobile,Inc.(BB&T        7/15/2019       300.00 ATM W i
                                                                  thdrawal
          #8312)

      63 OnlineProfitNetwork,        7/15/2019       503.00 ATM W i
                                                                  thdrawal
         Inc.(W eIIsFargo BankNA
         #2280)
      64 OnlineProfitNetwork,        7/25/2019       500.00 ATM Withdrawal
         Inc.(W elIsFargo BankNA
         #2280)
      65 BBLMobile,lnc.(BBKT          9/3/2019       200.00 ATM W ithdrawal
         #8312)

      66 OnlineProfitNetwork,        9/23/2019       500.00 ATM W ithdrawal
         Inc.(WeIIsFargo BankNA
        #2280)
      67 BBLMobile,Inc.(BB&T        10/15/2019       500.00 ATM W ithdrawal
        #8312)

      68 BBLMobile,Inc.(BB&T         11/5/2019       200.00 ATM W ithdrawal
        #8312)

      69 OnlineProfitNetwork,       11/21/2019      403.50 ATM W ithdrawal
         Inc.(W elIsFargo BankNA
         #2280)
      70 BBLMobile,Inc.(BBKT        11/25/2019       200.00 ATM W ithdrawal
         #8312)

      71 OnlineProfitNetwork,       12/26/2019       206.00 ATM W ithdrawal
         Inc.(WeIIsFargo BankNA
        #2280)
      72 OnlineProfitNetwork,        1/10/2020       203.00 ATM W ithdrawal
         Inc.(WeIIsFargoBankNA
        #2280)
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 W ithdrawalsfrom OtherFoley Companies




   Item      NameïBankïAccount      Date        Amount      Description
       73 OnlineProfitNetwork,      1/13/2020      203.00 ATM W ithdrawal
          Inc.(WeII sFargoBankNA
          #2280)
       74 OnlineProfitNetwork,      1/13/2020       500.00 ATM W ithdrawal
          Inc.(WeIIsFargoBankNA
          #2280)
       75 OnlineProfitNetwork,       2/7/2020       503.00 ATM W ithdrawal
          Inc.(WeIIsFargoBankNA
          #2280)
       76 OnlineProfitNetwork,      2/14/2020       500.00 ATM W ithdrawal
          Inc.(WelIsFargoBankNA
          #2280)
       77 OnlineProfitNetwork,      2/18/2020       500.00 ATM W ithdrawal
          Inc.(WeIlsFargoBankNA
          #2280)
       78 Online ProfitNetwork,     2/24/2020       303.00 ATM W ithdrawal
          Inc.(W eIIsFargo BankNA
          #2280)
       79 OnlineProfitNetwork,       3/4/2020       500.00 ATM W ithdrawal
          Inc.(W eIIsFargo BankNA
          #2280)
       80 LegacyMarketing           3/16/2020       500.00 ATM W i
                                                                 thdrawal
          Systems,Inc.(BB&T
          #1582)
       81 BizSitesandGuides,Inc.    3/16/2020       500.00 ATM W i
                                                                 thdrawal
          (BB&T#3791)

      82 BBLMobile,Inc.(BB&T        3/16/2020       500.00 ATM W i
                                                                 thdrawal
         #8312)

      83 OnlineProfitNetwork,       3/16/2020       500.00 ATM W i
                                                                 thdrawal
         Inc.(W eIIsFargo BankNA
         #2280)
            Subtotal                             20,240.01 ATM W ithdrawal



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 W ithdraw alsfrom OtherFoleyCom panies




   Item       NameïBankïAccount       Date        Amount        Description
          1OnlineProfitNetwork,       12/7/2018       400.00 Documentation
            Inc.(W eIIsFargo BankNA                          notavailablefor
            #2280)                                           review
          2 OnlineProfitNetwork,      6/14/2019     1,500.00 Documentation
            Inc.(W eIIsFargo BankNA                          notavailablefor
            #2280)                                           review
          3 OnlineProfitNetwork,      7/30/2019     2,500.00 Documentation
            Inc.(W eIIsFargo BankNA                          notavailablefor
            #2280)                                           review
           Subtotal                                 4,400.00 Documentation
                                                             notavailablefor
                                                             review Total
          1 OnlineProfitNetwork,      2/7/2019      1,700.00 Depositslip
            lnc.(W eIIsFargo BankNA                          namesDerek
            #2280)                                           Foley
          2 OnlineProfitNetwork,      8/30/2019     8,000.00 Depositslip
            Inc.(W eIlsFargo BankNA                          namesDerek
            #2280)                                           Foley
          3 OnlineProfitNetwork,      9/9/2019      5,000.00 Depositslip
            Inc.(W eIIsFargo BankNA                          namesDerek
            #2280)                                           Foley
          4 OnlineProfitNetwork,      1/16/2020     4,750.00 Depositslip
            Inc.(W eIIsFargo BankNA                          namesDerek
            #2280)                                           Foley
           Subtotal                                19,450.00 Depositslip
                                                             nam esDerek
                                                             Foley Total
              Total                                44,090.01




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